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   enable the Third Tranche 568 Custodian/Escrow Agent to exercise any such right, power,
   privilege or remedy, or (c) to otherwise effectuate the purpose and the terms and provisions of
   this Third Tranche 568 Custodian/Escrow Agreement, each in such form and substance as may
   be acceptable to the Third Tranche 568 CustodianiEscrow Agent.

                 (c)                    The failure of any of the parties hereto to enforce any
   provision hereof on any occasion shall not be deemed to be a waiver of any preceding or
   succeeding breach of such provision or any other provision.

                   (d)                          . The parties agree that the electronic signature
   (provided by the electronic signing service DocuSign initiated by the Custodian/Escrow Agent)
   of a party to this Escrow Agreement shall be as valid as an original signature of such party and
   shall be effective to bind such party to this Escrow Agreement. The parties agree that any
   electronically signed document shall be deemed (i) to be "wriften" or "in writing," (ii) to have
   been signed, and (iii) to constitute a record established and maintained in the ordinary course of
   business and an original written record when printed from electronic files.

          IN WITNESS WHEREOF, the parties hereto have executed this Third Tranche 568
   Custodian/Escrow Agreement as of the date first above written,




          Liz Lambert, Senior Managing Director


   Class Counsel



   By:
          Eric Cramer, Chairman
          Berger Montague PC




          Gilbert Litigators & Counselors, P.C.


   By:
          Edward Normand, Partner
          Freedman Normand Friedland LLP




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   enable the Third Tranche 568 Custodian/Escrow Agent to exercise any such right, power,
   privilege or remedyo or (c) to otherwise effectuate the purpose and the terms and provisions of
   this Third Tranche 568 Custodian/Escrow Agreement, each in such form and substance as mav
   be acceptable to the Third Tranche 568 Custodian/Escrow Agent.

                   (c) Non-Waiver. The failure of any of the parties hereto to enforce any
   provision hereof on any occasion shall not be deemed to be a waiver of any preceding or
   succeeding breach ofsuch provision or any other provision.

                   (d)    Electronic Sisnatures. The parties agree that the electronic signature
   (provided by the electronic signing service DocuSign initiated by the Custodian/Escrow Agent)
   of a party to this Escrow Agreement shall be as valid as an original signature of such party and
   shall be effective to bind such party to this Escrow Agreement. The parties agree that any
   electronically signed document shall be deemed (i) to be "written" or "in writing," (ii) to have
   been signed, and (iii) to constitute a record established and maintained in the ordinary course of
   business and an originalwritten record when printed from electronic files.

          IN WITNESS WHEREOF, the parties hereto have executed this Third Tranche 568
   Custodian/Escrow Agreement as of the date first above written.

   THE HI-I{TINGTON NATIONAL BANK, as the Third Tranche 568 Custodian/Escrow Agent


   By
          Liz Lambert, Senior Managing Director


   Class Counsel



   By:
          Eric Cramer, Chairman
          Berger Montague PC


   By
          Robert D. Gilbert
          Gilbert Litigators & Counselors, P.C.


   By
          Edward Normand, Partner
          Freedman Normand Friedland LLP




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  TRUSTEES OF DARTMOUTH COLLEGE


       ____________
  By: ________ _ _
                 _

        Senior Vice President, General Counsel and Secretary
  Its: ------------


  NORTHWESTERN UNIVERSITY


  By: ------------


  Its: ------------


   WILLIAM MARSH RICE UNIVERSITY


  By:�@?-

         Vice President, General Counsel & Secretary
   Its: ------------




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                         EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



                                                                Case No. 1:22-cv-125
SIA HENRY, et al., individually and on behalf of all others
similarly situated,
                                                                Hon. Matthew F. Kennelly
                                Plaintiffs,

           v.
                                                                SETTLEMENT AGREEMENT
BROWN UNIVERSITY, et al.,                                       BETWEEN DEFENDANT THE
                                                                TRUSTEES OF DARTMOUTH
                                                                COLLEGE AND THE
                                  Defendants.                   PROPOSED CLASS OF
                                                                PLAINTIFFS


          THIS SETTLEMENT AGREEMENT (“Settlement Agreement” or the “Settlement”) is

made and entered into as of February 22, 2024, by and between (a) Defendant the Trustees of

Dartmouth College (“Dartmouth”); and (b) Plaintiffs, 1 individually and on behalf of the settlement

class (the “Class” as defined in Paragraph 1 below, and together with Dartmouth, the “Settling

Parties”), in this Action (Henry, et al. v. Brown University, et al., Case No. 1:22-cv-125 (N.D.

Ill.)).

          WHEREAS, Plaintiffs filed a lawsuit alleging that Defendants Brown University,

California Institute of Technology, the University of Chicago, the Trustees of Columbia University

in the City of New York, Cornell University, the Trustees of Dartmouth College, Duke University,

Emory University, Georgetown University, Johns Hopkins University, Massachusetts Institute of

Technology, Northwestern University, the University of Notre Dame Du Lac, the Trustees of the

University of Pennsylvania, William Marsh Rice University, Vanderbilt University, and Yale

University (collectively, “Defendants”) have restrained competition for undergraduate financial

aid in violation of federal antitrust laws, and that Plaintiffs and Class Members incurred damages


1
 Plaintiffs are Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon
Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams.

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as a result, as detailed in Plaintiffs’ Complaint, filed in this Action on January 9, 2022 (ECF No.

1) and as subsequently amended (“Complaint”);

         WHEREAS, Dartmouth has asserted defenses to Plaintiffs’ claims, denies each and every

one of Plaintiffs’ allegations of unlawful or wrongful conduct by Dartmouth, denies that any

conduct of Dartmouth challenged by Plaintiffs caused any damage whatsoever, and denies all

liability of any kind;

         WHEREAS, Dartmouth has consented to the appointment of the law firms Freedman

Normand Friedland LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC as

Settlement Class Counsel (“Settlement Class Counsel”);

         WHEREAS, Settlement Class Counsel and counsel for Dartmouth have engaged in arm’s-

length settlement negotiations, and have reached this Settlement Agreement, subject to Court

approval, which embodies all of the terms and conditions of the Settlement between Plaintiffs,

both individually and on behalf of the Class, and Dartmouth;

         WHEREAS, Settlement Class Counsel have concluded, after extensive fact discovery and

consultation with their consultants and experts, and after carefully considering the circumstances

of this Action, including the claims asserted in the Complaint and Dartmouth’s defenses thereto,

that it would be in the best interests of the Class to enter into this Settlement Agreement and assure

a benefit to the Class, and further, that Settlement Class Counsel consider the Settlement to be fair,

reasonable, and adequate within the meaning of Fed. R. Civ. P. 23, and in the best interests of the

Class;

         WHEREAS, Dartmouth has concluded, despite its belief that it is not liable for the claims

asserted and that it has good and valid defenses thereto, that it would be in its best interests to enter

into this Settlement Agreement to avoid the risks and uncertainties inherent in complex litigation

and also to avoid additional costs of further litigation;

         WHEREAS, Plaintiffs and Dartmouth agree that this Settlement Agreement shall not be

deemed or construed to be an admission or evidence of any violation of any statute or law or of



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any liability or wrongdoing by Dartmouth, or of the validity or truth of any of the claims or

allegations alleged in the Complaint;

       WHEREAS, Plaintiffs and Dartmouth agree that this Settlement Agreement shall not be

deemed or construed to be an admission or evidence by Plaintiffs of the absence of any violation

of any statute or law or of any absence of liability or wrongdoing by Dartmouth, or of the validity

of any of Dartmouth’s defenses, or of the lack of truth of any of the claims or allegations alleged

in the Complaint; and

       WHEREAS, Plaintiffs and Dartmouth agree that Dartmouth’s consent to the certification

of the Settlement Class shall not be deemed or construed as consent to, or otherwise supportive of,

the certification of this or any other class for litigation purposes, and that, in the event the

Settlement Agreement is terminated for any reason, Dartmouth may oppose the certification of

any class on any and all grounds.

       NOW THEREFORE, it is agreed by the undersigned Settlement Class Counsel, on behalf

of Plaintiffs and the Class, on the one hand, and Dartmouth on the other, that all claims brought

by Plaintiffs and the Class against Dartmouth be fully, finally, and forever settled, compromised,

discharged, and dismissed with prejudice as to Dartmouth, without costs as to Plaintiffs, the Class,

or Dartmouth, subject to Court approval, on the following terms and conditions:

           1. Definitions

       a) “Action” means Henry et al. v. Brown University et al. No. 1:22-cv-00125 (N.D. Ill.).

       b) “Claims Administrator” means the entity appointed by the Court, on motion of

           Settlement Class Counsel, to provide notice to the Class, process the claims submitted

           by Class Members, and carry out any other duties or obligations provided for by the

           Settlement.

       c) The “Class” means the settlement-only class, which permits potential class members

           to opt out, including the following persons:

                 a.     all U.S. citizens or permanent residents who have during the Class Period

                        (a) enrolled in one or more of Defendants’ full-time undergraduate

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                       programs, (b) received at least some need-based financial aid from one or

                       more Defendants, and (c) whose tuition, fees, room, or board to attend one

                       or more of Defendants’ full-time undergraduate programs was not fully

                       covered by the combination of any types of financial aid or merit aid (not

                       including loans) in any undergraduate year. 2 The Class Period is defined

                       as follows:

                              i.     For Chicago, Columbia, Cornell, Duke, Georgetown, MIT,

                                     Northwestern, Notre Dame, Penn, Rice, Vanderbilt, Yale—

                                     from Fall Term 2003 through the date the Court enters an order

                                     preliminarily approving the Settlement.

                             ii.     For Brown, Dartmouth, Emory—from Fall Term 2004 through

                                     the date the Court enters an order preliminarily approving the

                                     Settlement.

                            iii.     For CalTech—from Fall Term 2019 through the date the Court

                                     enters an order preliminarily approving the Settlement.

                            iv.      For Johns Hopkins—from Fall Term 2021 through the date the

                                     Court enters an order preliminarily approving the Settlement.

               b.      Excluded from the Class are:

                              i.     Any Officers 3 and/or Trustees of Defendants, or any current or

                                     former employees holding any of the following positions:

                                     Assistant or Associate Vice Presidents or Vice Provosts,

                                     Executive Directors, or Directors of Defendants’ Financial Aid



2
  For avoidance of doubt, the Class does not include those for whom the total cost of attendance,
including tuition, fees, room, and board for each undergraduate academic year, was covered by any form
of financial aid or merit aid (not including loans) from one or more Defendants.
3
  For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members
of the Senior Administration of Columbia University, and do not include exempt employees of Columbia
University who are referred to as officers.

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                                and Admissions offices, or any Deans or Vice Deans, or any

                                employees in Defendants’ in-house legal offices; and

                          ii.   the Judge presiding over this action, his or her law clerks,

                                spouse, and any person within the third degree of relationship

                                living in the Judge’s household and the spouse of such a

                                person.

      d) “Class Members” means the members of the Class who do not timely and validly

         exclude themselves from the Settlement.

      e) “Effective Date” means the date on which all of the following have occurred: (i) the

         Settlement is not terminated pursuant to Paragraphs 15 or 16 below; (ii) the Settlement

         is approved by the Court as required by Fed. R. Civ. P. 23(e); (iii) the Court enters a

         final approval order; and (iv) the period to appeal the final approval order has expired

         and/or all appeals have been finally resolved.

      f) “Escrow Account” means the qualified settlement escrow account which holds the

         Dartmouth Settlement Fund.

      g) “Escrow Agreement” means an agreement in the form annexed hereto as Exhibit B.
      h) “Fee and Expense Award” means award(s) by the Court to Settlement Class Counsel

         for reasonable attorneys’ fees and reimbursement of reasonable costs and expenses

         incurred in the prosecution of the Action, including any interest accrued thereon.

      i) “Notice Expenses” means expenses relating to providing notice, including, inter alia,

         the cost of (a) publications, (b) printing and mailing the long-form notice, (c) the

         Claims Administrator’s costs of maintaining and administering the notice website and

         toll-free phone number, and (d) the Claims Administrator’s costs associated with

         designing and administering the notice plan.

      j) “Plaintiffs’ Claims” means Plaintiffs’ claims against Dartmouth and other Defendants

         as stated in the Complaint.



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      k) “Plan of Allocation” means the plan proposed by Settlement Class Counsel for the

         allocation of the Dartmouth Settlement Fund to Class Members.

      l) “Releasees” means Dartmouth and the Trustees of Dartmouth College, individually and

         collectively, and all of their present, future and former parent, subsidiary and affiliated

         corporations and entities, the predecessors and successors-in-interest of any of them,

         and each of the foregoing’s respective present, former and future officers, directors,

         trustees, members, affiliates, employees, administrators, faculty members, students,

         agents, advisors, representatives, volunteers, attorneys, outside counsel, predecessors,

         successors, heirs, devisees, executors, conservators, and assigns.

      m) “Releasors” means all Plaintiffs and Class Members, and those Plaintiffs’ and Class

         Members’ agents, attorneys, representatives (and as applicable each of their past,

         present, and future agents, attorneys, representatives, and all persons or entities that

         made payments to Dartmouth or other Defendants on behalf of Plaintiffs and Class

         Members), the predecessors, successors, heirs, devisees, executors, conservators,

         administrators, and representatives of each of the foregoing.

      n) “Released Claims” means any and all claims, demands, actions, suits, causes of action,

         damages, and liabilities, of any nature whatsoever, including costs, expenses, penalties

         and attorneys’ fees, known or unknown, accrued or unaccrued, contingent or absolute,

         suspected or unsuspected, in law, equity, or otherwise, that Plaintiffs ever had, now

         have, or hereafter can, shall or may have, directly, representatively, derivatively, as

         assignees or in any other capacity, to the extent alleged in the Complaint or to the extent

         arising out of or relating to a common nucleus of operative facts with those alleged in

         the Complaint that Plaintiffs have asserted or could have asserted in the Action. For

         avoidance of doubt, claims between Class Members and Dartmouth arising in the

         ordinary course and not relating to, arising from, or sharing a common nucleus of

         operative facts with the facts alleged in the Complaint will not be released.



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       o) “Settlement Class Counsel” means the law firms Freedman Normand Friedland LLP,

            Gilbert Litigators & Counselors, PC, and Berger Montague PC.

       p) “Settling Parties” means Dartmouth, Plaintiffs, and the Class.

       q) “Dartmouth Payment” means thirty-three million, seven hundred and fifty thousand

            dollars ($33,750,000.00).

       r) “Dartmouth Settlement Fund” means the Dartmouth Payment, plus interest accrued on

            the Settlement Fund. It is understood that, at no additional cost to Dartmouth or the

            Dartmouth Settlement Fund, the Dartmouth Settlement Fund may be combined with

            settlement funds from the settlements with other Defendants in the event that Plaintiffs

            achieve settlements with additional Defendants in this Action.

       2.      Reasonable Steps Necessary to Help Effectuate this Settlement. The Settling

Parties agree to undertake in good faith all reasonable steps necessary to help effectuate the

Settlement, including undertaking all actions contemplated by and steps necessary to carry out the

terms of this Settlement and to secure the prompt, complete, and final dismissal with prejudice of

all claims in this Action against Dartmouth. The Settling Parties also agree to the following:

       a)      Dartmouth agrees not to oppose a grant of the relief requested in the Plaintiffs’

motions for preliminary or final approval of the Settlement, and agrees not to appeal any Court

ruling granting in full either of these motions.

       b) Settlement Class Counsel represent that Plaintiffs will support the Settlement and will

            not object to the Settlement or opt out of the Settlement Class.

       c) Dartmouth will serve notice of this Settlement on the appropriate federal and state

            officials under the Class Action Fairness Act, 28 U.S.C. § 1715.

       d) This Settlement is reached with Settlement Class Counsel who will seek Court approval

            to represent all of the Class, and is intended to be binding on all persons who are within

            the definition of the Class, except any persons who timely and validly opt out.

       3.      Motion for Preliminary Approval of the Settlement. Plaintiffs shall draft a

motion for preliminary approval of the Settlement and all necessary supporting documents, which

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shall be consistent with this Settlement Agreement and which Dartmouth shall have a right to

review and approve (which approval shall not be unreasonably withheld). Dartmouth may suggest

revisions, which Plaintiffs agree to consider in good faith, as long as Dartmouth provides its

suggested revisions or comments within seven (7) business days of having received any such

document or documents from Plaintiffs, or such other time as the Settling Parties may agree.

Unless the Settling Parties agree otherwise, Plaintiffs will file the motion for preliminary approval

with the Court no later than 45 days after the execution of this Settlement Agreement. Dartmouth

understands and accepts that Plaintiffs may file for preliminary approval of this Settlement jointly

with other settlements in this Action. Nothing in this Settlement Agreement shall prevent Plaintiffs

from consummating settlements with other Defendants in this Action or from including such

settlements as part of a joint preliminary approval motion. The motion for preliminary approval

shall include a proposed form of order substantially similar to Exhibit A, including:

       a)       requesting preliminary approval of the Settlement as fair, reasonable, and adequate

within the meaning of Fed. R. Civ. P. 23, and finding that dissemination of notice to the Class is

warranted;

       b) finding that the proposed plan of notice complies with Rule 23 and due process, and

             seeking approval of short- and long-form notices;

       c) preliminarily approving the Plan of Allocation;

       d) providing that if final approval of the Settlement is not obtained, the Settlement shall

             be null and void, and the Settling Parties will revert to their positions ex ante without

             prejudice to their claims or defenses; and

       e) setting a date for a motion for final approval, a deadline for objections and exclusions,

             and a date for a fairness hearing.

             4. Stay of Proceedings; Subsequent Litigation Class. The motion for preliminary

approval shall also provide for a stay of Plaintiffs’ proceedings against Dartmouth pending final

approval or termination of the Settlement. Dartmouth agrees not to oppose preliminary approval

of the Settlement. Plaintiffs represent that the Class definition in Paragraph 1 of this Settlement

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Agreement is at least as broad as that for which the Plaintiffs will seek certification in their Motion

for Class Certification or any later motion(s) for certification of a settlement class (collectively,

“Certification Motions”) against one or more of the remaining Defendants in the Action, except

that as to any subsequent motion for a settlement class in the Action, Plaintiffs may extend the end

date of the class period to the date of preliminary approval of any subsequent settlement without

violating the provisions of this Paragraph. In the event that Settlement Class Counsel seek to certify

a class or classes in any Certification Motion against one or more of the remaining Defendants that

include(s) any class members not included in the Class definition in Paragraph 1 herein (except as

to the end date of the class period in the context of a motion seeking certification of a settlement

class), and if the Court certifies such a broader class at the request of Settlement Class Counsel,

Settlement Class Counsel agree that this Settlement Agreement shall be amended to include such

additional class members and that in the event an Amended Motion for Preliminary Approval of

this Settlement Agreement, any amended notices to the class(es), or an Amended Motion for Final

Approval of this Settlement Class are necessary, Settlement Class Counsel will file such

amendments and provide such notice at no expense to Dartmouth.

       5.      Motion for Final Approval and Entry of Final Judgment. In the event the Court

enters an order preliminarily approving the Settlement, the Plaintiffs shall draft a motion for final

approval of the Settlement and all necessary supporting documents, which Dartmouth shall have

a right to review and approve (which approval shall not be unreasonably withheld). Dartmouth

may suggest revisions, which Plaintiffs agree to consider in good faith, as long as Dartmouth

provides its suggested revisions or comments within seven (7) business days of having received

any such document or documents from Plaintiffs, or other such time as the Settling Parties may

agree. Plaintiffs will file the motion for final approval pursuant to the schedule ordered by the

Court. The final approval motion shall seek entry of a final approval order, including:

       a)      finding that notice given constitutes due, adequate, and sufficient notice and meets

the requirements of due process and the Federal Rules of Civil Procedure;



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       b) finding the Settlement to be fair, reasonable, and adequate within the meaning of Fed.

            R. Civ. P. 23 and directing consummation of the Settlement pursuant to its terms;

       c) finding that all Class Members shall be bound by the Settlement Agreement and all of

            its terms;

       d) finding that the Releasors shall be bound by the respective releases set forth in

            Paragraphs 13 and 14 of this Settlement Agreement, and shall be forever barred from

            asserting any claims or liabilities against Dartmouth covered by the respective Released

            Claims against any of the Releasees;

       e) approving expressly the provisions in Paragraph 7(e) of the Settlement Agreement

            allowing payment of Settlement Class Counsel fees and expenses before the Effective

            Date pursuant to the terms of that paragraph;

       f) directing that the Action be dismissed with prejudice as to Dartmouth and without

            costs;

       g) determining under Fed. R. Civ. P. 54(b) that there is no just reason for delay and

            directing that the judgment of dismissal with prejudice as to Dartmouth be final;

       h) retaining exclusive jurisdiction over the Settlement, including the administration and

            consummation of the Settlement; and

       i) directing that, for a period of five years, the Clerk of the Court shall maintain the record

            of the entities that have excluded themselves from the Class and that a certified copy

            of such records shall be provided to Dartmouth.

       6.       Finality of Settlement. This Settlement Agreement shall become final upon the

Effective Date.

       7.       Monetary Relief; Notice Fees and Costs

       a)       Dartmouth shall transfer or cause to be transferred ten million dollars of the

Dartmouth Payment ($10,000,000.00) to the Escrow Account within the later of: (i) 30 calendar

days after entry by the Court of the preliminary approval order on the docket of the Action, or

(ii) 14 calendar days after Settlement Class Counsel provide Dartmouth counsel in writing with

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wiring instructions for the Escrow Account. Dartmouth shall transfer or cause to transfer the

remaining balance of the Dartmouth Payment to the Escrow Account within 30 calendar days after

entry by the Court of the final approval order on the docket of the Action.

       b) The payments provided for in subparagraph 7(a) above shall be held in the Escrow

           Account subject to the terms and conditions of the Escrow Agreement, and in

           accordance with the provisions of Paragraphs 8-11, 16 and 17 below.

       c) Before the granting of final approval, and upon the direction of Settlement Class

           Counsel, all reasonable costs of providing notice to the Class and any costs of

           settlement fund administration, including taxes, will be paid out of the Escrow Account

           on a non-recoupable basis other than as set forth below. Settlement Class Counsel shall

           attempt to defray the costs of notice by combining the administration of multiple

           settlements, if such settlements occur and if permitted by the Court to do so. If multiple

           settlements are noticed together, the notice costs shall be divided by the number of

           settlements and charged to the escrow account of each settlement pari passu. Settlement

           Class Counsel shall provide copies to Dartmouth’s counsel of any invoices paid by

           Settlement Class Counsel for which money is withdrawn from the Escrow Account. In

           the event that no noticed settlements become effective, then any withdrawals for

           reasonable costs from the Escrow Account pursuant to this provision shall be non-

           refundable. If at least one noticed settlement becomes effective, then all withdrawals

           for reasonable costs from the Escrow Account (or escrow accounts as applicable)

           pursuant to this provision shall be withdrawn only from/charged only to the settlement

           fund(s) of the effective settlement(s). Settlement Class Counsel agree to arrange for

           provision of notice to the Class in accordance with Fed. R. Civ. P. 23 and any orders

           of the Court. Settlement Class Counsel agree to provide Dartmouth reasonable advance

           notice of the notice plan and costs.

       d) Following the Effective Date, any attorneys’ fees, costs and expenses and Class

           representative service awards awarded to Settlement Class Counsel and Plaintiffs by

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            the Court will be paid from the Escrow Account. Dartmouth will take no position on

            Settlement Class Counsel’s application for attorneys’ fees, costs, and expenses or for

            Class representative service awards to the Plaintiffs unless requested to do so by the

            Court.

       e)      Notwithstanding the above, subject to and following both the Court’s approval in

the Final Approval Order and the posting of a non-revocable letter of credit issued by Northern

Trust, Bank of America, Citibank, or Chase Bank agreed to in writing in advance by the Settling

Parties in an amount equal to or greater than the amount of any funds paid under this Paragraph,

Settlement Class Counsel’s attorneys’ fees and/or reimbursement of out-of-pocket expenses of

Settlement Class Counsel awarded by the Court, up to a maximum of 90% of the combined amount

of the Fee and Expense Award(s) associated with any and all settlements in this Action with other

Defendants approved contemporaneously with this Settlement, shall be payable from the combined

Settlement Fund upon being awarded by the Court, notwithstanding the existence of any timely-

filed objections thereto, or potential appeal therefrom, or collateral attack on the Settlement or any

part thereof, including on the award of attorneys’ fees and costs. Any payment pursuant to this

Paragraph 7(e) shall be subject to Settlement Class Counsel’s obligation to make appropriate

refunds or repayments to the Dartmouth Settlement Fund with interest that would have accrued to

the Dartmouth Settlement Fund if the early payment(s) had not been made, within five business

days, if and when, as a result of any appeal or further proceedings on remand, action by or ruling

of the Court, or successful collateral attack, the fee or award of costs and expenses is reduced or

reversed, or in the event the Settlement does not become final or is rescinded or otherwise fails to

become effective. If Settlement Class Counsel fail to make the required repayments in accordance

with the time period in this Paragraph, Dartmouth may call the letter of credit. If the provisions of

this Paragraph are followed, Dartmouth shall not object to such disbursements. If the Court does

not approve this provision, that disapproval will have no effect otherwise on the Settling Parties’

Settlement Agreement. Nothing in this Paragraph is intended to serve as a cap on, or limit to, the



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attorneys’ fees or expenses that Settlement Class Counsel or Plaintiffs may be awarded by the

Court and receive following the Effective Date.

        f)     Aside from the payments specified in this Paragraph 7, Dartmouth shall not pay

any additional amount at any time, whether for attorneys’ fees or expenses, incentive awards,

settlement administration costs, escrow costs, taxes due from the Escrow Account, or any other

cost. Dartmouth shall not be liable for any monetary payments under the Settlement Agreement

other than the Dartmouth Payment.

        8.     The Dartmouth Settlement Fund. At all times prior to the Effective Date, the

Dartmouth Settlement Fund shall be invested at the direction of Settlement Class Counsel as set

forth in Paragraph 3 of the Escrow Agreement, in instruments backed by the full faith and credit

of the U.S. Government or fully insured by the U.S. Government or an agency thereof, including

a U.S. Treasury Money Market Fund or a bank account insured by the FDIC up to the guaranteed

FDIC limit subject to the review and approval of Dartmouth, such approval not to be unreasonably

withheld. Dartmouth shall have no responsibility for, or obligation with respect to, the investment

or management of the Dartmouth Settlement Fund. The Dartmouth Settlement Fund may be

combined in the same Escrow Account as the settlement funds from other settlements in this

Action. After the Effective Date, the Dartmouth Settlement Fund shall be invested pursuant to

Paragraph 7 of the Escrow Agreement as directed in writing by Settlement Class Counsel. All

interest earned on the Dartmouth Settlement Fund shall become part of the Dartmouth Settlement

Fund.

        9.     Disbursements. After the Effective Date, the Dartmouth Settlement Fund shall be

distributed in accordance with the Plan of Allocation and the Court’s approval of subsequent

request(s) for distribution. If any portion of the Settlement Fund remains following disbursement

of Court-approved Notice Expenses, the Fee and Expense Award, and the service awards to the

Class representatives, and after distribution (or redistribution) to authorized claimants pursuant to

the Court-approved Plan of Allocation, and is of such an amount that it is not cost effective or

administratively efficient to redistribute the amount to the authorized claimants, then the Settling

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Parties agree to seek leave of Court to disburse such remaining funds, after payment of any further

notice and administration costs and taxes and tax expenses, to one or more appropriate charitable

non-profit organizations that promote access to higher education for disadvantaged students and

families as agreed to by the Settling Parties and upon approval by the Court.

       10.      Taxes.

       a)       Settlement Class Counsel shall be solely responsible for directing the Escrow Agent

(as defined in the Escrow Agreement) to file all informational and other tax returns necessary to

report any taxable and/or net taxable income earned by the Escrow Account. Further, Settlement

Class Counsel shall be solely responsible for directing the Escrow Agent to make any tax

payments, including interest and penalties due, on income earned by the Escrow Account. Subject

to Paragraph 7 above, Settlement Class Counsel shall be entitled to direct the Escrow Agent to pay

customary and reasonable tax expenses, including professional fees and expenses incurred in

connection with carrying out the Escrow Agent’s or tax preparer’s responsibilities as set forth in

this Paragraph, from the Escrow Account. Settlement Class Counsel shall notify Dartmouth

through its counsel regarding any payments or expenses paid from the Escrow Account. Dartmouth

shall have no responsibility to make any tax filings relating to this Settlement Agreement, the

Escrow Account, or the Settlement Payments, and shall have no responsibility to pay taxes on any

income earned by the Escrow Account.

       b) For the purpose of § 468B of the Internal Revenue Code of 1986, as amended, and the

             regulations promulgated thereunder, the “Administrator” of the Escrow Account shall

             be Settlement Class Counsel, who shall timely and properly file or cause to be filed on

             a timely basis all tax returns necessary or advisable with respect to the Escrow Account

             (including without limitation all income tax returns, all informational returns, and all

             returns described in Treas. Reg. § 1.468B-2(1)).

       c) The Settling Parties and their counsel shall treat, and shall cause the Escrow Agent to

             treat, the Escrow Account as being at all times a “qualified settlement fund” within the

             meaning of Treas. Reg. § 1.468B-1. The Settling Parties, their counsel, and the Escrow

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              Agent agree that they will not ask the Court to take any action inconsistent with the

              treatment of the Escrow Account in this manner. In addition, the Escrow Agent and, as

              required, the Settling Parties, shall timely make such elections under § 468B of the

              Internal Revenue Code of 1986, as amended, and the regulations promulgated

              thereunder as necessary or advisable to carry out the provisions of this Paragraph,

              including the “relation-back election” (as defined in Treas. Reg. § 1.468B-l(j)) back to

              the earliest permitted date. Such elections shall be made in compliance with the

              procedures and requirements contained in such regulations. It shall be the responsibility

              of the Escrow Agent to timely and properly prepare and deliver the necessary

              documentation for signature by all necessary parties and thereafter to cause the

              appropriate filing to occur. All provisions of this Settlement Agreement shall be

              interpreted in a manner that is consistent with the Escrow Account being a “qualified

              settlement fund” within the meaning of Treas. Reg. § 1.468B-1.

        11.      Full Satisfaction; Limitation of Interest and Liability. Plaintiffs and Class

Members shall look solely to the Dartmouth Payment for satisfaction of any and all Released

Claims. If the Settlement becomes final pursuant to Paragraph 6 above, Dartmouth’s payment of

the Dartmouth Payment will fully satisfy any and all Released Claims, as compromised. Except as

provided by order of the Court, no Class Member shall have any interest in the Dartmouth

Payment, Escrow Account, or any portion thereof. Recognizing that Dartmouth cannot defend

itself in this action in absentia after settling, the Settling Parties agree that any finding of liability

against any other party would not establish that Dartmouth would have been liable, or the amount

of any such liability, if Plaintiffs had proceeded to trial against Dartmouth on Plaintiffs’ claims. It

is not a violation of this Settlement Agreement for Plaintiffs to use any evidence, including

evidence that Plaintiffs believe shows Dartmouth’s involvement in the challenged conduct, to

prove Plaintiffs’ claims for liability and damages against any non-settling Defendant in this Action.

Notwithstanding anything set forth above, nothing in this Paragraph is intended to or shall be used



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to (i) exonerate any party other than Dartmouth, and/or (ii) reduce the exposure of any non-settling

defendant to liability, including to liability for the alleged actions of Dartmouth.

       12.     Attorneys’ Fees, Expenses, and Costs.

       a)      Settlement Class Counsel shall file any motion for a Fee and Expense Award in

accordance with the Court’s preliminary approval or final approval order. Settlement Class

Counsel shall receive any Fee and Expense Award relating to this Settlement solely from the

Dartmouth Settlement Fund. Other than as provided in Paragraph 7(e) and approved by the Court,

no portion of any Fee and Expense Award shall be released from the Dartmouth Settlement Fund

prior to the Effective Date. Dartmouth is not obligated to take, does not take, and, unless requested

to do so by the Court, will not take any position with respect to the application by Settlement Class

Counsel for reimbursement of attorneys’ fees, expenses, and costs.

       b)      The procedures for and the allowance or disallowance by the Court of Settlement

Class Counsel’s application for a Fee and Expense Award to be paid from the Dartmouth

Settlement Fund are not part of this Agreement, and are to be considered by the Court separately

from consideration of the fairness, reasonableness, and adequacy of the Settlement. Any order or

proceeding relating to the Fee and Expense Award, or any appeal from any such order, shall not

operate to modify or cancel this Settlement Agreement, or affect or delay the finality of the

judgment approving the Settlement. A modification or reversal on appeal of any amount of the Fee

and Expense Award shall not be deemed a modification of the terms of this Settlement Agreement

or final approval order, and shall not give rise to any right of termination.

       13.     Release. Upon the occurrence of the Effective Date, the Releasors hereby release

and forever discharge, and covenant not to sue the Releasees only, with respect to, in connection

with, or relating to any and all of the Released Claims.

       14.     Additional Release. In addition, each Releasor hereby expressly waives and

releases, upon the Effective Date, any and all provisions, rights, and/or benefits conferred by

Section 1542 of the California Civil Code, which reads:



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       Section 1542. Release. A general release does not extend to claims that the creditor
       or releasing party does not know or suspect to exist in his or her favor at the time
       of executing the release and that, if known by him or her, would have materially
       affected his or her settlement with the debtor or released party;
or by any law of any state or territory of the United States, or principle of common law, which is

similar, comparable, or equivalent to Section 1542 of the California Civil Code, notwithstanding

that the release in Paragraph 13 is not a general release and is of claims against Releasees only.

Each Releasor may hereafter discover facts other than or different from those which he, she, or it

knows or believes to be true with respect to the claims that are the subject matter of Paragraph 13.

Nonetheless, upon the Effective Date, each Releasor hereby expressly waives and fully, finally,

and forever settles and releases any known or unknown, foreseen, or unforeseen, suspected or

unsuspected, contingent or non-contingent claim that is the subject matter of Paragraph 13,

whether or not concealed or hidden, without regard to the subsequent discovery or existence of

such different or additional facts. Each Releasor also hereby expressly waives and fully, finally,

and forever settles, releases, and discharges any and all claims it may have against the Releasees

under § 17200, et seq., of the California Business and Professions Code or any similar comparable

or equivalent provision of the law of any other state or territory of the United States or other

jurisdiction, which claims are expressly incorporated into the definition of the Released Claims.

       15.     Effect of Disapproval. If the Court (i) declines to approve this Settlement

Agreement; (ii) does not enter the preliminary approval order containing the elements set forth in

Paragraph 3 above; (iii) does not enter the final approval order containing the elements set forth in

Paragraph 5 above; or (iv) enters the final approval order and appellate review is sought, and on

such review, such final approval order is not affirmed, then Settlement Class Counsel or Dartmouth

may elect to terminate this Settlement Agreement by sending written notice to the other party

within 10 business days of the event allowing for termination. For the avoidance of doubt and

without limiting the foregoing, any order of the Court, the Seventh Circuit Court of Appeals, or

the United States Supreme Court that is based on a determination that the Settlement is not fair,

reasonable, or adequate or that: (a) materially changes or does not approve the scope of the releases


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and covenant not to sue contemplated by this Settlement; (b) purports to impose additional material

obligations on Dartmouth; or (c) declines to enter a final judgment that meets the requirements set

forth in Paragraph 5 above, except as otherwise agreed in writing by Settlement Class Counsel and

Dartmouth, constitutes a failure to grant final approval of this Agreement and confers on

Settlement Class Counsel and/or Dartmouth the right to terminate the Agreement. A modification

or reversal on appeal of the Plan of Allocation, Fee and Expense Award, or Plaintiffs’ service

awards shall not be deemed a modification of the terms of this Agreement or Final Approval Order

and shall not give rise to any right of termination.

       16.     Opt-Out and Termination Rights.

       a)      Should more than 650 proposed Class Members (not including employees of any

of the law firms representing Defendants in this case) opt-out of this Settlement, Dartmouth has

the right to terminate this Settlement, as long as Dartmouth notifies Settlement Class Counsel in

writing of its decision to terminate within ten (10) business days of having been informed that

more than 650 proposed Class Members have opted out or such other time as the Settling Parties

may agree, and provided that Dartmouth has been given timely information regarding any opt-outs

within a reasonable time after such opt-out requests come to the attention of Settlement Class

Counsel. In such instance of termination, the Settling Parties would return to their respective

positions as of September 27, 2023. In the event of a termination, the Settling Parties agree to work

in good faith to propose a schedule to the Court to restart the litigation between Plaintiffs and

Dartmouth. Dartmouth agrees that its President, Provost, General Counsel, or outside counsel shall

take no actions, publicly or privately, directly or indirectly, to encourage any proposed Class

Members to opt out of this Settlement, or to encourage opting out from any other settlements that

Plaintiffs may enter into with other Defendants in this Action, or from any class or classes that the

Court may certify in this Action.

       b)      Any disputes regarding the application of this Paragraph 16 may be resolved by the

Court, with Plaintiffs, Dartmouth, and the opt-out(s) all having the opportunity to be heard.



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       17.     Reimbursement of the Dartmouth Settlement Fund upon Termination. If the

Settlement Agreement is terminated pursuant to the provisions of Paragraphs 15 or 16 above, the

Escrow Agent shall return to Dartmouth the funds in the Dartmouth Settlement Fund consistent

with Paragraph 7 at the time of termination. Subject to Paragraph 8 of the Escrow Agreement, the

Escrow Agent shall disburse the funds left in the Dartmouth Settlement Fund consistent with

Paragraph 7 to Dartmouth in accordance with this Paragraph within 15 calendar days after receipt

of either (i) written notice signed by Settlement Class Counsel and Dartmouth’s counsel stating

that the Settlement has been terminated (such written notice will be signed by the non-terminating

party within three days of receiving the written notice from the terminating party), or (ii) any order

of the Court so directing. If the Settlement Agreement is terminated pursuant to Paragraphs 15 or

16, (1) any obligations pursuant to this Settlement Agreement other than (i) disbursement of the

Dartmouth Settlement Fund to Dartmouth as set forth above and (ii) Paragraph 23, shall cease

immediately and (2) the releases set forth in Paragraphs 13 and 14 above shall be null and void.

       18.     Preservation of Rights. Except as expressly provided for in the Releases in

Paragraphs 13 and 14 above, this Settlement Agreement, whether the Settlement becomes final or

not, and any and all negotiations, documents, and discussions associated with it, shall be without

prejudice to the rights of any of the Settling Parties, shall not be deemed or construed to be an

admission or evidence of any violation of any statute or law or lack thereof, of any liability or

wrongdoing by Dartmouth or lack thereof, or of any amount of improperly acquired funds received

by Dartmouth or the lack thereof, or of the truth or lack thereof of any of the claims or allegations

contained in the Complaint or any other pleading, and evidence thereof shall not be discoverable

or used directly or indirectly, in any way other than to enforce the terms of this Settlement

Agreement. The Settling Parties expressly reserve all of their rights if the Settlement does not

become final in accordance with the terms of this Settlement Agreement. Upon the Settlement

becoming final, nothing in this Settlement Agreement shall (a) prevent Dartmouth from asserting

any release or citing this Settlement Agreement to offset any liability to any other parties not party

to the Action, including but not limited to, claims filed by federal and state governments or any

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governmental entity, or (b) be construed to impair, negate, diminish, or adversely affect any rights

of Dartmouth or its successors or assigns to seek to recover or to recover insurance proceeds or

payments from its past or current insurance carriers with respect to amounts paid pursuant to this

Settlement Agreement or incurred in connection with the Action, or any other loss or liability, and

Dartmouth expressly reserves all rights, claims, positions, arguments, contentions, and defenses

with respect to such matters.

       19.     No Admission of Liability by Dartmouth; No Admission of Absence of Merit

by Plaintiffs. This Settlement Agreement shall not be deemed or construed to be an admission of

Dartmouth’s liability in this Action or to be admissions that Plaintiffs’ claims in this Action have

any merit against Dartmouth or otherwise, or to comprise any determination as to whether there

were, or the amount of, any improperly acquired funds allegedly received by Dartmouth.

Dartmouth denies any wrongdoing in relation to the claims brought by Plaintiffs in this Action.

Dartmouth’s consent to the Settlement Class shall not be deemed consent to the certification of

this or any other class for litigation purposes, and in the event of termination, Dartmouth may

oppose the certification of any class. This Settlement Agreement shall not be deemed or construed

to be an admission that Plaintiffs’ Claims in this Action have or lack merit as to Dartmouth or

otherwise.

       20.     Discovery Disclosures to Plaintiffs. The intent of this Paragraph is to expressly

limit and define Dartmouth’s obligations with respect to discovery that Plaintiffs may seek from

Dartmouth following the Settlement. Other than as set forth below, or as may subsequently be

agreed to by the Settling Parties, Dartmouth and its current or former employees shall neither be

required to respond or supplement its response to any discovery request (including deposition

notices or subpoenas), previously served by Plaintiffs or that Plaintiffs may serve in the future. To

the extent Plaintiffs depose any witness in this Action who is a former employee of Dartmouth,

Plaintiffs shall refrain from questioning the witness concerning the witness’ employment with

Dartmouth. In addition, Settlement Class Counsel agree that they will consult with Dartmouth



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Counsel before attempting to contact or make any effort to communicate with any former

Dartmouth employees.

        a)      Data. Dartmouth will respond in good faith to the data questions it received from

Settlement Class Counsel on December 14, 2023 before the close of fact discovery.

        b)      Interrogatories. Dartmouth will provide sworn responses to no more than two

interrogatories, including sub-parts, before the close of fact discovery.

        c)      Testimony. Notwithstanding this Settlement Agreement, if any other party to the

Action takes a deposition of a Dartmouth-related witness, Dartmouth agrees that it will not object

to making that witness available for deposition questioning by Plaintiffs’ counsel for an equal

amount of time, subject to a combined time limit as set in Fed. R. Civ. P. 30(d)(1).

        d)      Produced documents kept in the ordinary course of business and trial witness.

Dartmouth agrees that in the event the need arises in this Action, and there is an authenticity or

hearsay objection made by one or more Defendants in the Action to documents or data produced

by Dartmouth in this litigation, Dartmouth will provide a declaration (i) pursuant to Federal Rule

of Evidence 902(11) concerning the authenticity of those documents; and (ii) providing facts

relevant to the application of the Business Records Exception to the Hearsay Rule (Fed. R. Evid.

803(6)) for documents or data that qualify as business records. In the event that a declaration is

not sufficient to meet the requirements of Fed. R. Evid. 803(6), Dartmouth will provide a records

custodian witness to testify by deposition de bene esse or, if necessary, at trial, for the sole purpose

of providing support for the authenticity of the documents or data or the application of the Business

Records Exception to the Hearsay Rule for those documents or data.

        e)      Confidentiality: All non-public data, documents, information, testimony, and/or

communications provided to Plaintiffs’ counsel as part of discovery in the Action or as part of

subparts (a) to (e) above, if so designated by Dartmouth, shall be treated as “Confidential” or

“Attorneys’ Eyes Only” under the Confidentiality Order in the Action. Plaintiffs reserve the right

to challenge such designations, after the fact, under the terms of the Confidentiality Order,

however, Plaintiffs must provide in writing their legal basis for such a challenge and then

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telephonically meet and confer in good faith with counsel for Dartmouth before filing any motion

to challenge such designations with the Court. Plaintiffs further agree that they shall not seek to

challenge the confidentiality of any Dartmouth documents or testimony unless Plaintiffs intend to

file such documents or testimony with the Court in support of a motion (other than a motion to

challenge confidentiality designations) or introduce such documents or testimony in a hearing or

trial in the Action. Notwithstanding anything to the contrary in this Settlement Agreement or the

Confidentiality Order, Plaintiffs shall not object to any FERPA designations made by Dartmouth

under any circumstances.

        f)      Admissibility and Privilege: Nothing herein shall require Dartmouth to provide

information protected by the attorney-client privilege, attorney work-product doctrine, joint-

defense privilege or similar privileges, and Dartmouth shall not waive any protections, immunities,

or privileges. All provisions of the Confidentiality Order and other orders governing discovery in

the Action otherwise will apply, including without limitation, provisions related to inadvertent

disclosure.

        21.     Temporary Stay of Litigation. The Settling Parties agree that it appears unlikely

a temporary stay of litigation will be necessary before the Court considers the stay requested as

part of the motion for preliminary approval of the Settlement Agreement. In the event that either

Settling Party to this Settlement Agreement believes in good faith that it has become necessary to

seek a stay of the litigation in order for that party to avoid work not contemplated by this Settlement

Agreement or some other undue burden, the Settling Parties agree that they will seek a temporary

stay of the litigation.

        22.     Resumption of Litigation in the Event of Termination. The Settling Parties agree

that in the event that the Settlement Agreement is not approved by the Court, or if the Settlement

does not become final pursuant to Paragraph 6 above, or if the Settlement Agreement is terminated

pursuant to Paragraphs 15 or 16 above, Plaintiffs may resume litigation of the Action against

Dartmouth in a reasonable manner to be approved by the Court upon a joint application by the



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Settling Parties, and if and only if Plaintiffs have fully reimbursed to Dartmouth the Dartmouth

Settlement Fund as provided for in Paragraph 17 above.

       23.     Maintaining Confidentiality of Litigation Materials. In the event that Plaintiffs

or Settlement Class Counsel receive a subpoena or other legal process that would require

disclosure of material covered by any protective order entered in the Action (the “Protective

Order”) or covered by Federal Rule of Evidence 408, such Plaintiff or Settlement Class Counsel

shall promptly notify Dartmouth and forward a copy of such subpoena or legal process so that

Dartmouth may seek a protective order or otherwise seek to maintain the confidentiality of material

covered by the Protective Order or Rule 408; and such Plaintiff or Settlement Class Counsel shall

object to the production of such material unless and until any such motion filed by Dartmouth is

resolved. In addition, Plaintiffs and Settlement Class Counsel shall abide by the terms of the

Protective Order in this Action, including with respect to the destruction of materials and the

limitations on the use of any material covered by the Protective Order to this Action, unless

otherwise ordered by a court of competent jurisdiction.

       24.     Binding Effect. This Settlement Agreement shall be binding upon, and inure to the

benefit of, the Releasors and the Releasees. Without limiting the generality of the foregoing, each

and every covenant and agreement herein by Settlement Class Counsel shall be binding upon

Plaintiffs and all Class Members.

       25.     Integrated Agreement. This Settlement Agreement, together with the exhibits

hereto and the documents referenced herein, contains the complete and integrated statement of

every term in this Settlement Agreement, and supersedes all prior agreements or understandings,

whether written or oral, between the Settling Parties with respect to the subject matter hereof. This

Settlement Agreement shall not be modified except by a writing executed by Plaintiffs and

Dartmouth.

       26.     Independent Settlement. This Settlement Agreement is not conditioned on the

performance or disposition of any other settlement agreement between the Class and any other

Defendant.

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       27.     Headings. The headings in this Settlement Agreement are intended only for the

convenience of the reader and shall not affect the interpretation of this Settlement Agreement.

       28.     No Party is the Drafter. None of the Settling Parties shall be considered the drafter

of this Settlement Agreement or any provision hereof for the purpose of any statute, case law, or

rule of construction that might cause any provision to be construed against the drafter hereof.

       29.     Consent to Jurisdiction. Each Class Member and Dartmouth hereby irrevocably

submit to the exclusive jurisdiction of the United States District Court for the Northern District of

Illinois for any suit, action, proceeding or dispute among or between them arising out of or relating

to this Settlement Agreement or the applicability of this Settlement Agreement, including, without

limitation, any suit, action, proceeding, or dispute relating to the release provisions herein,

provided that this consent to jurisdiction shall not affect Dartmouth’s right or ability to assert this

Settlement Agreement or the releases contained herein as a defense in an action filed in any other

jurisdiction asserting Released Claims or concerning this Settlement Agreement or this Action.

       30.     Choice of Law. All terms of this Settlement Agreement shall be governed by and

interpreted according to federal common law or, where state law must apply, Illinois law without

regard to conflicts of law principles.

       31.     Representations and Warranties. Each party represents and warrants that it has

the requisite authority to execute, deliver, and perform this Settlement Agreement and to

consummate the transactions contemplated herein.

       32.     Notice. Where this Settlement Agreement requires either Settling Party to provide

notice or any other communication or document to the other Settling Party, such notice shall be in

writing and provided by email and overnight delivery to the counsel set forth in the signature block




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below for Settlement Class Counsel, respectively, or their designees or successors. For Dartmouth,

notice shall be provided by email and overnight delivery to:

Sandhya L Iyer                    Douglas E. Litvack                  Ishan Bhabha
Senior Vice President and         Jenner & Block LLP                  Jenner & Block LLP
General Counsel                   1099 New York Avenue, NW            1099 New York Avenue, NW
Dartmouth College                 Suite 900, Washington, DC 20001     Suite 900, Washington DC 20001
63 South Main Street              dlitvack@jenner.com                 Ibhabha@jenner.com
Suite 301, Hanover, NH 03755
Sandhya.l.Iyer@dartmouth.edu


       33.     Execution in Counterparts. This Settlement Agreement may be executed in

counterparts. A facsimile or .pdf signature shall be deemed an original signature for purposes of

executing this Settlement Agreement.

       34.     Confidentiality. The terms of this Settlement Agreement shall remain confidential

until Plaintiffs move for preliminary approval of the Settlement, unless Dartmouth and Settlement

Class Counsel agree otherwise, provided that Dartmouth may disclose the terms of this Settlement

Agreement to accountants, lenders, auditors, legal counsel, insurers, tax advisors, or in response

to a request by any governmental, judicial, or regulatory authority or otherwise required by

applicable law or court order, and Plaintiffs may disclose the terms of the Settlement Agreement

to any entity that has applied to serve as Notice and Claims Administrator or Escrow Agent, who

shall abide by the terms of this Paragraph.




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       IN WITNESS WHEREOF, the parties hereto through their fully authorized representatives

have agreed to this Settlement Agreement as of the date first herein above written.


                 22 2024.
Dated: February _____,


       TRUSTEES OF DARTMOUTH COLLEGE

       By:     ___________________________
               Sandhya L. Iyer
       Its:    Senior Vice President, General Counsel and Secretary




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 By:                                                      By:
 Robert D. Gilbert                                        Devin "Vel" Freedman
 Elpidio Villarreal                                       Edward J. Normand
 Robert S. Raymar                                         FREEDMAN NORMAND
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                                                                                Executed Version




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                         EXHIBIT 2
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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



                                                                Case No. 1:22-cv-125
SIA HENRY, et al., individually and on behalf of all others
similarly situated,
                                                                Hon. Matthew F. Kennelly
                                Plaintiffs,

           v.
                                                                SETTLEMENT AGREEMENT
BROWN UNIVERSITY, et al.,                                       BETWEEN DEFENDANT
                                                                WILLIAM MARSH RICE
                                                                UNIVERSITY AND THE
                                Defendants.                     PROPOSED CLASS OF
                                                                PLAINTIFFS


          THIS SETTLEMENT AGREEMENT (“Settlement Agreement” or the “Settlement”) is

made and entered into as of February 22, 2024, by and between (a) Defendant William Marsh Rice

University (“Rice University”); and (b) Plaintiffs, 1 individually and on behalf of the settlement
class (the “Class” as defined in Paragraph 1 below, and together with Rice University, the “Settling

Parties”), in this Action (Henry, et al. v. Brown University, et al., Case No. 1:22-cv-125 (N.D.

Ill.)).

          WHEREAS, Plaintiffs filed a lawsuit alleging that Defendants Brown University,

California Institute of Technology, the University of Chicago, the Trustees of Columbia University

in the City of New York, Cornell University, the Trustees of Dartmouth College, Duke University,

Emory University, Georgetown University, Johns Hopkins University, Massachusetts Institute of

Technology, Northwestern University, the University of Notre Dame Du Lac, the Trustees of the

University of Pennsylvania, William Marsh Rice University, Vanderbilt University, and Yale

University (collectively, “Defendants”) have restrained competition for undergraduate financial

aid in violation of federal antitrust laws, and that Plaintiffs and Class Members incurred damages


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 Plaintiffs are Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon Piyevsky,
Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams.

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as a result, as detailed in Plaintiffs’ Complaint, filed in this Action on January 9, 2022 (ECF No.

1) and as subsequently amended (“Complaint”);

        WHEREAS, Rice University has asserted defenses to Plaintiffs’ claims, denies each and

every one of Plaintiffs’ allegations of unlawful or wrongful conduct by Rice University, denies

that any conduct of Rice University challenged by Plaintiffs caused any damage whatsoever, and

denies all liability of any kind;

        WHEREAS, Rice University has consented to the appointment of the law firms Freedman

Normand Friedland LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC as

Settlement Class Counsel (“Settlement Class Counsel”);

        WHEREAS, Settlement Class Counsel and counsel for Rice University have engaged in

arm’s-length settlement negotiations, and have reached this Settlement Agreement, subject to

Court approval, which embodies all of the terms and conditions of the Settlement between

Plaintiffs, both individually and on behalf of the Class, and Rice University;

        WHEREAS, Settlement Class Counsel have concluded, after extensive fact discovery and

consultation with their consultants and experts, and after carefully considering the circumstances

of this Action, including the claims asserted in the Complaint and Rice University’s defenses

thereto, that it would be in the best interests of the Class to enter into this Settlement Agreement

and assure a benefit to the Class, and further, that Settlement Class Counsel consider the Settlement

to be fair, reasonable, and adequate within the meaning of Fed. R. Civ. P. 23, and in the best

interests of the Class;

        WHEREAS, Rice University has concluded, despite its belief that it is not liable for the

claims asserted and that it has good and valid defenses thereto, that it would be in its best interests

to enter into this Settlement Agreement to avoid the risks and uncertainties inherent in complex

litigation and also to avoid additional costs of further litigation;

        WHEREAS, Plaintiffs and Rice University agree that this Settlement Agreement shall not

be deemed or construed to be an admission or evidence of any violation of any statute or law or of



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any liability or wrongdoing by Rice University, or of the validity or truth of any of the claims or

allegations alleged in the Complaint;

         WHEREAS, Plaintiffs and Rice University agree that this Settlement Agreement shall not

be deemed or construed to be an admission or evidence by Plaintiffs of the absence of any violation

of any statute or law or of any absence of liability or wrongdoing by Rice University, or of the

validity of any of Rice University’s defenses, or of the lack of truth of any of the claims or

allegations alleged in the Complaint; and

         WHEREAS, Plaintiffs and Rice University agree that Rice University’s consent to the

certification of the Settlement Class shall not be deemed or construed as consent to, or otherwise

supportive of, the certification of this or any other class for litigation purposes, and that, in the

event the Settlement Agreement is terminated for any reason, Rice University may oppose the

certification of any class on any and all grounds.

         NOW THEREFORE, it is agreed by the undersigned Settlement Class Counsel, on behalf

of Plaintiffs and the Class, on the one hand, and Rice University on the other, that all claims

brought by Plaintiffs and the Class against Rice University be fully, finally, and forever settled,

compromised, discharged, and dismissed with prejudice as to Rice University, without costs as to

Plaintiffs, the Class, or Rice University, subject to Court approval, on the following terms and

conditions:

              1. Definitions

         a)      “Action” means Henry et al. v. Brown University et al., No. 1:22-cv-00125 (N.D.

Ill.).

         b)      “Claims Administrator” means the entity appointed by the Court, on motion of

Settlement Class Counsel, to provide notice to the Class, process the claims submitted by Class

Members, and carry out any other duties or obligations provided for by the Settlement.

         c)      The “Class” means the settlement-only class, which permits potential class

members to opt out, including the following persons:



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                            a. all U.S. citizens or permanent residents who have during the Class

                                Period (a) enrolled in one or more of Defendants’ full-time

                                undergraduate programs, (b) received at least some need-based

                                financial aid from one or more Defendants, and (c) whose tuition,

                                fees, room, or board to attend one or more of Defendants’ full-time

                                undergraduate programs was not fully covered by the combination

                                of any types of financial aid or merit aid (not including loans) in any

                                undergraduate year. 2 The Class Period is defined as follows:

                                     i. For Chicago, Columbia, Cornell, Duke, Georgetown, MIT,

                                         Northwestern, Notre Dame, Penn, Rice, Vanderbilt, Yale—

                                         from Fall Term 2003 through the date the Court enters an

                                         order preliminarily approving the Settlement.

                                    ii. For Brown, Dartmouth, Emory—from Fall Term 2004

                                         through the date the Court enters an order preliminarily

                                         approving the Settlement.

                                    iii. For CalTech—from Fall Term 2019 through the date the

                                         Court enters an order preliminarily approving the

                                         Settlement.

                                    iv. For Johns Hopkins—from Fall Term 2021 through the date

                                         the Court enters an order preliminarily approving the

                                         Settlement.

                            b. Excluded from the Class are:




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  For avoidance of doubt, the Class does not include those for whom the total cost of attendance, including
tuition, fees, room, and board for each undergraduate academic year, was covered by any form of financial
aid or merit aid (not including loans) from one or more Defendants.

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                                   i. Any Officers 3 and/or Trustees of Defendants, or any current

                                      or former employees holding any of the following positions:

                                      Assistant or Associate Vice Presidents or Vice Provosts,

                                      Executive Directors, or Directors of Defendants’ Financial

                                      Aid and Admissions offices, or any Deans or Vice Deans, or

                                      any employees in Defendants’ in-house legal offices; and

                                   ii. the Judge presiding over this action, his or her law clerks,

                                      spouse, and any person within the third degree of

                                      relationship living in the Judge’s household and the spouse

                                      of such a person.

       d)      “Class Members” means the members of the Class who do not timely and validly

exclude themselves from the Settlement.

       e)      “Effective Date” means the date on which all of the following have occurred: (i) the

Settlement is not terminated pursuant to Paragraphs 15 or 16 below; (ii) the Settlement is approved

by the Court as required by Fed. R. Civ. P. 23(e); (iii) the Court enters a final approval order; and

(iv) the period to appeal the final approval order has expired and/or all appeals have been finally

resolved.

       f)      “Escrow Account” means the qualified settlement escrow account which holds the

Rice University Settlement Fund.

       g)      “Escrow Agreement” means an agreement in the form annexed hereto as Exhibit B.

       h)      “Fee and Expense Award” means award(s) by the Court to Settlement Class

Counsel for reasonable attorneys’ fees and reimbursement of reasonable costs and expenses

incurred in the prosecution of the Action, including any interest accrued thereon.




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 For the avoidance of doubt, the Columbia University “Officers” excluded from the Class are members
of the Senior Administration of Columbia University, and do not include exempt employees of Columbia
University who are referred to as officers.

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       i)        “Notice Expenses” means expenses relating to providing notice, including, inter

alia, the cost of (a) publications, (b) printing and mailing the long-form notice, (c) the Claims

Administrator’s costs of maintaining and administering the notice website and toll-free phone

number, and (d) the Claims Administrator’s costs associated with designing and administering the

notice plan.

       j)        “Plaintiffs’ Claims” means Plaintiffs’ claims against Rice University and other

Defendants as stated in the Complaint.

       k)        “Plan of Allocation” means the plan proposed by Settlement Class Counsel for the

allocation of the Rice University Settlement Fund to Class Members.

       l)        “Releasees” means Rice University and the Board of Trustees of Rice University,

individually and collectively, and all of their present, future and former parent, subsidiary and

affiliated corporations and entities, the predecessors and successors-in-interest of any of them, and

each of the foregoing’s respective present, former and future officers, directors, trustees, members,

affiliates, employees, administrators, faculty members, students, agents, advisors, representatives,

volunteers, attorneys, outside counsel, predecessors, successors, heirs, devisees, executors,

conservators, and assigns.

       m)        “Releasors” means all Plaintiffs and Class Members, and those Plaintiffs’ and Class

Members’ agents, attorneys, representatives (and as applicable each of their past, present, and

future agents, attorneys, representatives, and all persons or entities that made payments to Rice

University or other Defendants on behalf of Plaintiffs and Class Members), the predecessors,

successors, heirs, devisees, executors, conservators, administrators, and representatives of each of

the foregoing.

       n)        “Released Claims” means any and all claims, demands, actions, suits, causes of

action, damages, and liabilities, of any nature whatsoever, including costs, expenses, penalties and

attorneys’ fees, known or unknown, accrued or unaccrued, contingent or absolute, suspected or

unsuspected, in law, equity, or otherwise, that Plaintiffs ever had, now have, or hereafter can, shall

or may have, directly, representatively, derivatively, as assignees or in any other capacity, to the

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extent alleged in the Complaint or to the extent arising out of or relating to a common nucleus of

operative facts with those alleged in the Complaint that Plaintiffs have asserted or could have

asserted in the Action. For avoidance of doubt, claims between Class Members and Rice

University arising in the ordinary course and not relating to, arising from, or sharing a common

nucleus of operative facts with the facts alleged in the Complaint will not be released.

       o)      “Settlement Class Counsel” means the law firms Freedman Normand Friedland

LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC.

       p)      “Settling Parties” means Rice University, Plaintiffs, and the Class.

       q)      “Rice University Payment” means Thirty-Three Million and Seven-Hundred and

Fifty Thousand Dollars ($33,750,000.00).

       r)      “Rice University Settlement Fund” means the Rice University Payment, plus

interest accrued on the Settlement Fund. It is understood that, at no additional cost to Rice

University or the Rice University Settlement Fund, the Rice University Settlement Fund may be

combined with settlement funds from the settlements with other Defendants in the event that

Plaintiffs achieve settlements with additional Defendants in this Action.

       2.      Reasonable Steps Necessary to Help Effectuate this Settlement. The Settling

Parties agree to undertake in good faith all reasonable steps necessary to help effectuate the

Settlement, including undertaking all actions contemplated by and steps necessary to carry out the

terms of this Settlement and to secure the prompt, complete, and final dismissal with prejudice of

all claims in this Action against Rice University. The Settling Parties also agree to the following:

       a)      Rice University agrees not to oppose a grant of the relief requested in the Plaintiffs’

motions for preliminary or final approval of the Settlement, and agrees not to appeal any Court

ruling granting in full either of these motions.

       b)      Settlement Class Counsel represent that Plaintiffs will support the Settlement and

will not object to the Settlement or opt out of the Settlement Class.

       c)      Rice University will serve notice of this Settlement on the appropriate federal and

state officials under the Class Action Fairness Act, 28 U.S.C. § 1715.

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       d)      This Settlement is reached with Settlement Class Counsel who will seek Court

approval to represent all of the Class, and is intended to be binding on all persons who are within

the definition of the Class, except any persons who timely and validly opt out.

       3.      Motion for Preliminary Approval of the Settlement. Plaintiffs shall draft a

motion for preliminary approval of the Settlement and all necessary supporting documents, which

shall be consistent with this Settlement Agreement and which Rice University shall have a right to

review and approve (which approval shall not be unreasonably withheld). Rice University may

suggest revisions, which Plaintiffs agree to consider in good faith, as long as Rice University

provides its suggested revisions or comments within seven (7) business days of having received

any such document or documents from Plaintiffs, or such other time as the Settling Parties may

agree. Unless the Settling Parties agree otherwise, Plaintiffs will file the motion for preliminary

approval with the Court no later than 45 days after the execution of this Settlement Agreement.

Rice University understands and accepts that Plaintiffs may file for preliminary approval of this

Settlement jointly with other settlements in this Action. Nothing in this Settlement Agreement

shall prevent Plaintiffs from consummating settlements with other Defendants in this Action or

from including such settlements as part of a joint preliminary approval motion. The motion for

preliminary approval shall include a proposed form of order substantially similar to Exhibit A,

including:

       a)      requesting preliminary approval of the Settlement as fair, reasonable, and adequate

within the meaning of Fed. R. Civ. P. 23, and finding that dissemination of notice to the Class is

warranted;

       b)      finding that the proposed plan of notice complies with Rule 23 and due process,

and seeking approval of short- and long-form notices;

       c)      preliminarily approving the Plan of Allocation;

       d)      providing that if final approval of the Settlement is not obtained, the Settlement

shall be null and void, and the Settling Parties will revert to their positions ex ante without

prejudice to their claims or defenses; and

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       e)      setting a date for a motion for final approval, a deadline for objections and

exclusions, and a date for a fairness hearing.

            4. Stay of Proceedings; Subsequent Litigation Class. The motion for preliminary

approval shall also provide for a stay of Plaintiffs’ proceedings against Rice University pending

final approval or termination of the Settlement. Rice University agrees not to oppose preliminary

approval of the Settlement. Plaintiffs represent that the Class definition in Paragraph 1 of this

Settlement Agreement is at least as broad as that for which the Plaintiffs will seek certification in

their Motion for Class Certification or any later motion(s) for certification of a settlement class

(collectively, “Certification Motions”) against one or more of the remaining Defendants in the

Action, except that as to any subsequent motion for a settlement class in the Action, Plaintiffs may

extend the end date of the class period to the date of preliminary approval of any subsequent

settlement without violating the provisions of this Paragraph. In the event that Settlement Class

Counsel seek to certify a class or classes in any Certification Motion against one or more of the

remaining Defendants that include(s) any class members not included in the Class definition in

Paragraph 1 herein (except as to the end date of the class period in the context of a motion seeking

certification of a settlement class), and if the Court certifies such a broader class at the request of

Settlement Class Counsel, Settlement Class Counsel agree that this Settlement Agreement shall be

amended to include such additional class members and that in the event an Amended Motion for

Preliminary Approval of this Settlement Agreement, any amended notices to the class(es), or an

Amended Motion for Final Approval of this Settlement Class are necessary, Settlement Class

Counsel will file such amendments and provide such notice at no expense to Rice University.

       5.      Motion for Final Approval and Entry of Final Judgment. In the event the Court

enters an order preliminarily approving the Settlement, the Plaintiffs shall draft a motion for final

approval of the Settlement and all necessary supporting documents, which Rice University shall

have a right to review and approve (which approval shall not be unreasonably withheld). Rice

University may suggest revisions, which Plaintiffs agree to consider in good faith, as long as Rice

University provides its suggested revisions or comments within seven (7) business days of having

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received any such document or documents from Plaintiffs, or other such time as the Settling Parties

may agree. Plaintiffs will file the motion for final approval pursuant to the schedule ordered by the

Court. The final approval motion shall seek entry of a final approval order, including:

        a)       finding that notice given constitutes due, adequate, and sufficient notice and meets

the requirements of due process and the Federal Rules of Civil Procedure;

        b)       finding the Settlement to be fair, reasonable, and adequate within the meaning of

Fed. R. Civ. P. 23 and directing consummation of the Settlement pursuant to its terms;

        c)       finding that all Class Members shall be bound by the Settlement Agreement and all

of its terms;

        d)       finding that the Releasors shall be bound by the respective releases set forth in

Paragraphs 13 and 14 of this Settlement Agreement, and shall be forever barred from asserting any

claims or liabilities against Rice University covered by the respective Released Claims against any

of the Releasees;

        e)       approving expressly the provisions in Paragraph 7(e) of the Settlement Agreement

allowing payment of Settlement Class Counsel fees and expenses before the Effective Date

pursuant to the terms of that paragraph;

        f)       directing that the Action be dismissed with prejudice as to Rice University and

without costs;

        g)       determining under Fed. R. Civ. P. 54(b) that there is no just reason for delay and

directing that the judgment of dismissal with prejudice as to Rice University be final;

        h)       retaining exclusive jurisdiction over the Settlement, including the administration

and consummation of the Settlement; and

        i)       directing that, for a period of five years, the Clerk of the Court shall maintain the

record of the entities that have excluded themselves from the Class and that a certified copy of

such records shall be provided to Rice University.

        6.       Finality of Settlement. This Settlement Agreement shall become final upon the

Effective Date.

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       7.      Monetary Relief; Notice Fees and Costs

       a)      Rice University shall transfer or cause to be transferred 50% of the Rice University

Payment ($16,875,000.00) to the Escrow Account within the later of: (i) 30 calendar days after

entry by the Court of the preliminary approval order on the docket of the Action, or (ii) 14 calendar

days after Settlement Class Counsel provide Rice University counsel in writing with wiring

instructions for the Escrow Account. Rice University shall transfer or cause to transfer the

remaining balance of the Rice University Payment to the Escrow Account no later than September

30, 2024.

       b)      The payments provided for in subparagraph 7(a) above shall be held in the Escrow

Account subject to the terms and conditions of the Escrow Agreement, and in accordance with the

provisions of Paragraphs 8-11, 16 and 17 below.

       c)      Before the granting of final approval, and upon the direction of Settlement Class

Counsel, all reasonable costs of providing notice to the Class and any costs of settlement fund

administration, including taxes, will be paid out of the Escrow Account on a non-recoupable basis

other than as set forth below. Settlement Class Counsel shall attempt to defray the costs of notice

by combining the administration of multiple settlements, if such settlements occur and if permitted

by the Court to do so. If multiple settlements are noticed together, the notice costs shall be divided

by the number of settlements and charged to the escrow account of each settlement pari passu.

Settlement Class Counsel shall provide copies to Rice University’s counsel of any invoices paid

by Settlement Class Counsel for which money is withdrawn from the Escrow Account. In the event

that no noticed settlements become effective, then any withdrawals for reasonable costs from the

Escrow Account pursuant to this provision shall be non-refundable. If at least one noticed

settlement becomes effective, then all withdrawals for reasonable costs from the Escrow Account

(or escrow accounts as applicable) pursuant to this provision shall be withdrawn only from/charged

only to the settlement fund(s) of the effective settlement(s). Settlement Class Counsel agree to

arrange for provision of notice to the Class in accordance with Fed. R. Civ. P. 23 and any orders



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of the Court. Settlement Class Counsel agree to provide Rice University reasonable advance notice

of the notice plan and costs.

       d)      Following the Effective Date, any attorneys’ fees, costs and expenses and Class

representative service awards awarded to Settlement Class Counsel and Plaintiffs by the Court will

be paid from the Escrow Account. In this litigation, Rice University will take no position on

Settlement Class Counsel’s application for attorneys’ fees, costs, and expenses or for Class

representative service awards to the Plaintiffs unless requested to do so by the Court.

       e)      Notwithstanding the above, subject to and following both the Court’s approval in

the Final Approval Order and the posting of a non-revocable letter of credit issued by Northern

Trust, Bank of America, Citibank, or Chase Bank agreed to in writing in advance by the Settling

Parties in an amount equal to or greater than the amount of any funds paid under this Paragraph,

Settlement Class Counsel’s attorneys’ fees and/or reimbursement of out-of-pocket expenses of

Settlement Class Counsel awarded by the Court, up to a maximum of 90% of the combined amount

of the Fee and Expense Award(s) associated with any and all settlements in this Action with other

Defendants approved contemporaneously with this Settlement, shall be payable from the combined

Settlement Fund upon being awarded by the Court, notwithstanding the existence of any timely-

filed objections thereto, or potential appeal therefrom, or collateral attack on the Settlement or any

part thereof, including on the award of attorneys’ fees and costs. Any payment pursuant to this

Paragraph 7(e) shall be subject to Settlement Class Counsel’s obligation to make appropriate

refunds or repayments to the Rice University Settlement Fund with interest that would have

accrued to the Rice University Settlement Fund if the early payment(s) had not been made, within

five business days, if and when, as a result of any appeal or further proceedings on remand, action

by or ruling of the Court, or successful collateral attack, the fee or award of costs and expenses is

reduced or reversed, or in the event the Settlement does not become final or is rescinded or

otherwise fails to become effective. If Settlement Class Counsel fail to make the required

repayments in accordance with the time period in this Paragraph, Rice University may call the

letter of credit. If the provisions of this Paragraph are followed, Rice University shall not object to

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such disbursements. If the Court does not approve this provision, that disapproval will have no

effect otherwise on the Settling Parties’ Settlement Agreement. Nothing in this Paragraph is

intended to serve as a cap on, or limit to, the attorneys’ fees or expenses that Settlement Class

Counsel or Plaintiffs may be awarded by the Court and receive following the Effective Date.

       f)      Aside from the payments specified in this Paragraph 7, Rice University shall not

pay any additional amount at any time, whether for attorneys’ fees or expenses, incentive awards,

settlement administration costs, escrow costs, taxes due from the Escrow Account, or any other

cost. Rice University shall not be liable for any monetary payments under the Settlement

Agreement other than the Rice University Payment.

       8.      The Rice University Settlement Fund. At all times prior to the Effective Date, the

Rice University Settlement Fund shall be invested at the direction of Settlement Class Counsel as

set forth in Paragraph 3 of the Escrow Agreement, in instruments backed by the full faith and credit

of the U.S. Government or fully insured by the U.S. Government or an agency thereof, including

a U.S. Treasury Money Market Fund or a bank account insured by the FDIC up to the guaranteed

FDIC limit subject to the review and approval of Rice University, such approval not to be

unreasonably withheld. Rice University shall have no responsibility for, or obligation with respect

to, the investment or management of the Rice University Settlement Fund. The Rice University

Settlement Fund may be combined in the same Escrow Account as the settlement funds from other

settlements in this Action. After the Effective Date, the Rice University Settlement Fund shall be

invested pursuant to Paragraph 7 of the Escrow Agreement as directed in writing by Settlement

Class Counsel. All interest earned on the Rice University Settlement Fund shall become part of

the Rice University Settlement Fund.

       9.      Disbursements. After the Effective Date, the Rice University Settlement Fund

shall be distributed in accordance with the Plan of Allocation and the Court’s approval of

subsequent request(s) for distribution. If any portion of the Settlement Fund remains following

disbursement of Court-approved Notice Expenses, the Fee and Expense Award, and the service

awards to the Class representatives, and after distribution (or redistribution) to authorized

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claimants pursuant to the Court-approved Plan of Allocation, and is of such an amount that it is

not cost effective or administratively efficient to redistribute the amount to the authorized

claimants, then the Settling Parties agree to seek leave of Court to disburse such remaining funds,

after payment of any further notice and administration costs and taxes and tax expenses, to one or

more appropriate charitable non-profit organizations that promote access to higher education for

disadvantaged students and families as agreed to by the Settling Parties and upon approval by the

Court.

         10.   Taxes.

         a)    Settlement Class Counsel shall be solely responsible for directing the Escrow Agent

(as defined in the Escrow Agreement) to file all informational and other tax returns necessary to

report any taxable and/or net taxable income earned by the Escrow Account. Further, Settlement

Class Counsel shall be solely responsible for directing the Escrow Agent to make any tax

payments, including interest and penalties due, on income earned by the Escrow Account. Subject

to Paragraph 7 above, Settlement Class Counsel shall be entitled to direct the Escrow Agent to pay

customary and reasonable tax expenses, including professional fees and expenses incurred in

connection with carrying out the Escrow Agent’s or tax preparer’s responsibilities as set forth in

this Paragraph, from the Escrow Account. Settlement Class Counsel shall notify Rice University

through its counsel regarding any payments or expenses paid from the Escrow Account. Rice

University shall have no responsibility to make any tax filings relating to this Settlement

Agreement, the Escrow Account, or the Settlement Payments, and shall have no responsibility to

pay taxes on any income earned by the Escrow Account.

         b)    For the purpose of § 468B of the Internal Revenue Code of 1986, as amended, and

the regulations promulgated thereunder, the “Administrator” of the Escrow Account shall be

Settlement Class Counsel, who shall timely and properly file or cause to be filed on a timely basis

all tax returns necessary or advisable with respect to the Escrow Account (including without

limitation all income tax returns, all informational returns, and all returns described in Treas. Reg.

§ 1.468B-2(1)).

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       c)      The Settling Parties and their counsel shall treat, and shall cause the Escrow Agent

to treat, the Escrow Account as being at all times a “qualified settlement fund” within the meaning

of Treas. Reg. § 1.468B-1. The Settling Parties, their counsel, and the Escrow Agent agree that

they will not ask the Court to take any action inconsistent with the treatment of the Escrow Account

in this manner. In addition, the Escrow Agent and, as required, the Settling Parties, shall timely

make such elections under § 468B of the Internal Revenue Code of 1986, as amended, and the

regulations promulgated thereunder as necessary or advisable to carry out the provisions of this

Paragraph, including the “relation-back election” (as defined in Treas. Reg. § 1.468B-l(j)) back to

the earliest permitted date. Such elections shall be made in compliance with the procedures and

requirements contained in such regulations. It shall be the responsibility of the Escrow Agent to

timely and properly prepare and deliver the necessary documentation for signature by all necessary

parties and thereafter to cause the appropriate filing to occur. All provisions of this Settlement

Agreement shall be interpreted in a manner that is consistent with the Escrow Account being a

“qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1.

       11.     Full Satisfaction; Limitation of Interest and Liability. Plaintiffs and Class

Members shall look solely to the Rice University Payment for satisfaction of any and all Released

Claims. If the Settlement becomes final pursuant to Paragraph 6 above, Rice University’s payment

of the Rice University Payment will fully satisfy any and all Released Claims, as compromised.

Except as provided by order of the Court, no Class Member shall have any interest in the Rice

University Payment, Escrow Account, or any portion thereof. Recognizing that Rice University

cannot defend itself in this action in absentia after settling, the Settling Parties agree that any

finding of liability against any other party would not establish that Rice University would have

been liable, or the amount of any such liability, if Plaintiffs had proceeded to trial against Rice

University on Plaintiffs’ claims. It is not a violation of this Settlement Agreement for Plaintiffs to

use any evidence, including evidence that Plaintiffs believe shows Rice University’s involvement

in the challenged conduct, to prove Plaintiffs’ claims for liability and damages against any non-

settling Defendant in this Action. Notwithstanding anything set forth above, nothing in this

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Paragraph is intended to or shall be used to (i) exonerate any party other than Rice University,

and/or (ii) reduce the exposure of any non-settling defendant to liability, including to liability for

the alleged actions of Rice University.

       12.     Attorneys’ Fees, Expenses, and Costs.

       a)      Settlement Class Counsel shall file any motion for a Fee and Expense Award in

accordance with the Court’s preliminary approval or final approval order. Settlement Class

Counsel shall receive any Fee and Expense Award relating to this Settlement solely from the Rice

University Settlement Fund. Other than as provided in Paragraph 7(e) and approved by the Court,

no portion of any Fee and Expense Award shall be released from the Rice University Settlement

Fund prior to the Effective Date. In this litigation, Rice University is not obligated to take, does

not take, and, unless requested to do so by the Court, will not take any position with respect to the

application by Settlement Class Counsel for reimbursement of attorneys’ fees, expenses, and costs.

       b)      The procedures for and the allowance or disallowance by the Court of Settlement

Class Counsel’s application for a Fee and Expense Award to be paid from the Rice University

Settlement Fund are not part of this Agreement, and are to be considered by the Court separately

from consideration of the fairness, reasonableness, and adequacy of the Settlement. Any order or

proceeding relating to the Fee and Expense Award, or any appeal from any such order, shall not

operate to modify or cancel this Settlement Agreement, or affect or delay the finality of the

judgment approving the Settlement. A modification or reversal on appeal of any amount of the Fee

and Expense Award shall not be deemed a modification of the terms of this Settlement Agreement

or final approval order, and shall not give rise to any right of termination.

       13.     Release. Upon the occurrence of the Effective Date, the Releasors hereby release

and forever discharge, and covenant not to sue the Releasees only, with respect to, in connection

with, or relating to any and all of the Released Claims.

       14.     Additional Release. In addition, each Releasor hereby expressly waives and

releases, upon the Effective Date, any and all provisions, rights, and/or benefits conferred by

Section 1542 of the California Civil Code, which reads:

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       Section 1542. Release. A general release does not extend to claims that the creditor
       or releasing party does not know or suspect to exist in his or her favor at the time
       of executing the release and that, if known by him or her, would have materially
       affected his or her settlement with the debtor or released party;
or by any law of any state or territory of the United States, or principle of common law, which is

similar, comparable, or equivalent to Section 1542 of the California Civil Code, notwithstanding

that the release in Paragraph 13 is not a general release and is of claims against Releasees only.

Each Releasor may hereafter discover facts other than or different from those which he, she, or it

knows or believes to be true with respect to the claims that are the subject matter of Paragraph 13.

Nonetheless, upon the Effective Date, each Releasor hereby expressly waives and fully, finally,

and forever settles and releases any known or unknown, foreseen, or unforeseen, suspected or

unsuspected, contingent or non-contingent claim that is the subject matter of Paragraph 13,

whether or not concealed or hidden, without regard to the subsequent discovery or existence of

such different or additional facts. Each Releasor also hereby expressly waives and fully, finally,

and forever settles, releases, and discharges any and all claims it may have against the Releasees

under § 17200, et seq., of the California Business and Professions Code or any similar comparable

or equivalent provision of the law of any other state or territory of the United States or other

jurisdiction, which claims are expressly incorporated into the definition of the Released Claims.

       15.     Effect of Disapproval. If the Court (i) declines to approve this Settlement

Agreement; (ii) does not enter the preliminary approval order containing the elements set forth in

Paragraph 3 above; (iii) does not enter the final approval order containing the elements set forth in

Paragraph 5 above; or (iv) enters the final approval order and appellate review is sought, and on

such review, such final approval order is not affirmed, then Settlement Class Counsel or Rice

University may elect to terminate this Settlement Agreement by sending written notice to the other

party within 10 business days of the event allowing for termination. For the avoidance of doubt,

and without limiting the foregoing, any order of the Court, the Seventh Circuit Court of Appeals,

or the United States Supreme Court that is based on a determination that the Settlement is not fair,

reasonable, or adequate or that: (a) materially changes or does not approve the scope of the releases

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and covenant not to sue contemplated by this Settlement; (b) purports to impose additional material

obligations on Rice University; or (c) declines to enter a final judgment that meets the requirements

set forth in Paragraph 5 above, except as otherwise agreed in writing by Settlement Class Counsel

and Rice University, constitutes a failure to grant final approval of this Agreement and confers on

Settlement Class Counsel and/or Rice University the right to terminate the Agreement. A

modification or reversal on appeal of the Plan of Allocation, Fee and Expense Award, or Plaintiffs’

service awards shall not be deemed a modification of the terms of this Agreement or Final

Approval Order and shall not give rise to any right of termination.

       16.     Opt-Out and Termination Rights.

       a)      Should more than 650 proposed Class Members (not including employees of any

of the law firms representing Defendants in this case) opt-out of this Settlement, Rice University

has the right to terminate this Settlement, as long as Rice University notifies Settlement Class

Counsel in writing of its decision to terminate within ten (10) business days of having been

informed that more than 650 proposed Class Members have opted out or such other time as the

Settling Parties may agree, and provided that Rice University has been given timely information

regarding any opt-outs within a reasonable time after such opt-out requests come to the attention

of Settlement Class Counsel. In such instance of termination, the Settling Parties would return to

their respective positions as of October 15, 2023. In the event of a termination, the Settling Parties

agree to work in good faith to propose a schedule to the Court to restart the litigation between

Plaintiffs and Rice University. Rice University agrees that its President, Provost, General Counsel,

or outside counsel shall take no actions, publicly or privately, directly or indirectly, to encourage

any proposed Class Members to opt out of this Settlement, or to encourage opting out from any

other settlements that Plaintiffs may enter into with other Defendants in this Action, or from any

class or classes that the Court may certify in this Action.

       b)      Any disputes regarding the application of this Paragraph 16 may be resolved by the

Court, with Plaintiffs, Rice University, and the opt-out(s) all having the opportunity to be heard.



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       17.     Reimbursement of the Rice University Settlement Fund upon Termination. If

the Settlement Agreement is terminated pursuant to the provisions of Paragraphs 15 or 16 above,

the Escrow Agent shall return to Rice University the funds in the Rice University Settlement Fund

consistent with Paragraph 7 at the time of termination. Subject to Paragraph 8 of the Escrow

Agreement, the Escrow Agent shall disburse the funds left in the Rice University Settlement Fund

consistent with Paragraph 7 to Rice University in accordance with this Paragraph within 15

calendar days after receipt of either (i) written notice signed by Settlement Class Counsel and Rice

University’s counsel stating that the Settlement has been terminated (such written notice will be

signed by the non-terminating party within three days of receiving the written notice from the

terminating party), or (ii) any order of the Court so directing. If the Settlement Agreement is

terminated pursuant to Paragraphs 15 or 16, (1) any obligations pursuant to this Settlement

Agreement other than (i) disbursement of the Rice University Settlement Fund to Rice University

as set forth above and (ii) Paragraph 23, shall cease immediately and (2) the releases set forth in

Paragraphs 13 and 14 above shall be null and void.

       18.     Preservation of Rights. Except as expressly provided for in the Releases in

Paragraphs 13 and 14 above, this Settlement Agreement, whether the Settlement becomes final or

not, and any and all negotiations, documents, and discussions associated with it, shall be without

prejudice to the rights of any of the Settling Parties, shall not be deemed or construed to be an

admission or evidence of any violation of any statute or law or lack thereof, of any liability or

wrongdoing by Rice University or lack thereof, or of any amount of improperly acquired funds

received by Rice University or the lack thereof, or of the truth or lack thereof of any of the claims

or allegations contained in the Complaint or any other pleading, and evidence thereof shall not be

discoverable or used directly or indirectly, in any way other than to enforce the terms of this

Settlement Agreement. The Settling Parties expressly reserve all of their rights if the Settlement

does not become final in accordance with the terms of this Settlement Agreement. Upon the

Settlement becoming final, nothing in this Settlement Agreement shall (a) prevent Rice University

from asserting any release or citing this Settlement Agreement to offset any liability to any other

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parties not party to the Action, including but not limited to, claims filed by federal and state

governments or any governmental entity, or (b) be construed to impair, negate, diminish, or

adversely affect any rights of Rice University or its successors or assigns to seek to recover or to

recover insurance proceeds or payments from its past or current insurance carriers with respect to

amounts paid pursuant to this Settlement Agreement or incurred in connection with the Action, or

any other loss or liability, and Rice University expressly reserves all rights, claims, positions,

arguments, contentions, and defenses with respect to such matters.

       19.     No Admission of Liability by Rice University; No Admission of Absence of

Merit by Plaintiffs. This Settlement Agreement shall not be deemed or construed to be an

admission of Rice University’s liability in this Action or to be admissions that Plaintiffs’ claims in

this Action have any merit against Rice University or otherwise, or to comprise any determination

as to whether there were, or the amount of, any improperly acquired funds allegedly received by

Rice University. Rice University denies any wrongdoing in relation to the claims brought by

Plaintiffs in this Action. Rice University’s consent to the Settlement Class shall not be deemed

consent to the certification of this or any other class for litigation purposes, and in the event of

termination, Rice University may oppose the certification of any class. This Settlement Agreement

shall not be deemed or construed to be an admission that Plaintiffs’ Claims in this Action have or

lack merit as to Rice University or otherwise.

       20.     Discovery Disclosures to Plaintiffs. Other than as set forth below, or as may

subsequently be agreed to by the Settling Parties, Rice University and its current or former

employees will not be subject to any further discovery (including deposition notices and

subpoenas), previously served by Plaintiffs or that Plaintiffs may serve in the future.

       a)      Data. Rice will respond in good faith to the data questions it received from

Settlement Class Counsel on December 5, 2023 before the close of fact discovery.

       b)      Interrogatories. Rice will provide sworn responses to no more than four additional

interrogatories before the close of fact discovery.



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       c)      Testimony. Notwithstanding this Settlement Agreement, if any other party to the

Action takes a deposition of a Rice University-related witness, Rice University agrees that it will

not object to making that witness available for deposition questioning by Plaintiffs’ counsel for an

equal amount of time, subject to a combined time limit as set in Fed. R. Civ. P. 30(d)(1).

       d)      Produced documents kept in the ordinary course of business and trial witness.

Rice University agrees that in the event the need arises in this Action, and there is an authenticity

or hearsay objection made by one or more Defendants in the Action to documents or data produced

by Rice University in this litigation, Rice University will provide a declaration (i) pursuant to

Federal Rule of Evidence 902(11) concerning the authenticity or admissibility of those documents;

and (ii) supporting the application of the Business Records Exception to the Hearsay Rule (Fed.

R. Evid. 803(6)) to those documents or data. In the event that a declaration is not sufficient to meet

the requirements of Fed. R. Evid. 803(6), Rice University will provide a records custodian witness

to testify by deposition de bene esse or, if necessary, at trial, for the sole purpose of providing

support for the authenticity of the documents or data or the application of the Business Records

Exception to the Hearsay Rule for those documents or data.

       e)      Confidentiality: All non-public data, documents, information, testimony, and/or

communications provided to Plaintiffs’ counsel as part of subparts (a) to (d) above, if so designated

by Rice University, shall be treated as “Confidential” or “Attorneys’ Eyes Only” under the

Confidentiality Order in the Action. Plaintiffs reserve the right to challenge such designations,

after the fact, under the terms of the Confidentiality Order; however, Plaintiffs agree to

telephonically meet and confer in good faith with counsel for Rice University before filing any

motion to challenge such designations with the Court. Plaintiffs further agree that they shall not

seek to challenge the confidentiality of any Rice University documents or testimony unless

Plaintiffs intend to file such documents or testimony with the Court in support of a motion (other

than a motion challenging confidentiality designations) or introduce such documents or testimony

in a hearing or trial in the Action. Notwithstanding anything to the contrary in this Settlement



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Agreement or the Confidentiality Order, Plaintiffs shall not object to any FERPA designations

made by Rice University under any circumstances.

        f)      Admissibility and Privilege: Nothing herein shall require Rice University to

provide information protected by the attorney-client privilege, attorney work-product doctrine,

joint-defense privilege or similar privileges, and Rice University shall not waive any protections,

immunities, or privileges. All provisions of the Confidentiality Order and other orders governing

discovery in the Action otherwise will apply, including without limitation, provisions related to

inadvertent disclosure.

        21.     Temporary Stay of Litigation. The Settling Parties agree that it appears unlikely

a temporary stay of litigation will be necessary before the Court considers the stay requested as

part of the motion for preliminary approval of the Settlement Agreement. In the event that either

Settling Party to this Settlement Agreement believes in good faith that it has become necessary to

seek a stay of the litigation in order for that party to avoid work not contemplated by this Settlement

Agreement or some other undue burden, the Settling Parties agree that they will seek a temporary

stay of the litigation.

        22.     Resumption of Litigation in the Event of Termination. The Settling Parties agree

that in the event that the Settlement Agreement is not approved by the Court, or if the Settlement

does not become final pursuant to Paragraph 6 above, or if the Settlement Agreement is terminated

pursuant to Paragraphs 15 or 16 above, Plaintiffs may resume litigation of the Action against Rice

University in a reasonable manner to be approved by the Court upon a joint application by the

Settling Parties, and if and only if Plaintiffs have fully reimbursed to Rice University the Rice

University Settlement Fund as provided for in Paragraph 17 above.

        23.     Maintaining Confidentiality of Litigation Materials. In the event that Plaintiffs

or Settlement Class Counsel receive a subpoena or other legal process that would require

disclosure of material covered by any protective order entered in the Action (the “Protective

Order”) or covered by Federal Rule of Evidence 408, such Plaintiff or Settlement Class Counsel

shall promptly notify Rice University and forward a copy of such subpoena or legal process so that

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Rice University may seek a protective order or otherwise seek to maintain the confidentiality of

material covered by the Protective Order or Rule 408; and such Plaintiff or Settlement Class

Counsel shall object to the production of such material unless and until any such motion filed by

Rice University is resolved. In addition, Plaintiffs and Settlement Class Counsel shall abide by the

terms of the Protective Order in this Action, including with respect to the destruction of materials

and the limitations on the use of any material covered by the Protective Order to this Action, unless

otherwise ordered by a court of competent jurisdiction.

       24.     Binding Effect. This Settlement Agreement shall be binding upon, and inure to the

benefit of, the Releasors and the Releasees. Without limiting the generality of the foregoing, each

and every covenant and agreement herein by Settlement Class Counsel shall be binding upon

Plaintiffs and all Class Members.

       25.     Integrated Agreement. This Settlement Agreement, together with the exhibits

hereto and the documents referenced herein, contains the complete and integrated statement of

every term in this Settlement Agreement, and supersedes all prior agreements or understandings,

whether written or oral, between the Settling Parties with respect to the subject matter hereof. This

Settlement Agreement shall not be modified except by a writing executed by Plaintiffs and Rice

University.

       26.     Independent Settlement. This Settlement Agreement is not conditioned on the

performance or disposition of any other settlement agreement between the Class and any other

Defendant.

       27.     Headings. The headings in this Settlement Agreement are intended only for the

convenience of the reader and shall not affect the interpretation of this Settlement Agreement.

       28.     No Party is the Drafter. None of the Settling Parties shall be considered the drafter

of this Settlement Agreement or any provision hereof for the purpose of any statute, case law, or

rule of construction that might cause any provision to be construed against the drafter hereof.

       29.     Consent to Jurisdiction. Each Class Member and Rice University hereby

irrevocably submit to the exclusive jurisdiction of the United States District Court for the Northern

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District of Illinois for any suit, action, proceeding or dispute among or between them arising out

of or relating to this Settlement Agreement or the applicability of this Settlement Agreement,

including, without limitation, any suit, action, proceeding, or dispute relating to the release

provisions herein, provided that this consent to jurisdiction shall not affect Rice University’s right

or ability to assert this Settlement Agreement or the releases contained herein as a defense in an

action filed in any other jurisdiction asserting Released Claims or concerning this Settlement

Agreement or this Action.

       30.     Choice of Law. All terms of this Settlement Agreement shall be governed by and

interpreted according to federal common law or, where state law must apply, Illinois law without

regard to conflicts of law principles.

       31.     Representations and Warranties. Each party represents and warrants that it has

the requisite authority to execute, deliver, and perform this Settlement Agreement and to

consummate the transactions contemplated herein.

       32.     Notice. Where this Settlement Agreement requires either Settling Party to provide

notice or any other communication or document to the other Settling Party, such notice shall be in

writing and provided by email and overnight delivery to the counsel set forth in the signature block

below for Settlement Class Counsel, respectively, or their designees or successors. For Rice

University, notice shall be provided by email and overnight delivery to:

       Omar A. Syed
       Vice President, General Counsel & Secretary
       William Marsh Rice University
       360 Allen Center
       6100 Main St.
       Houston, TX 77005
       legal@rice.edu


       Norman Armstrong, Jr.
       Kirkland & Ellis LLP
       1301 Pennsylvania Avenue, N.W.
       Washington, D.C. 20004
       norman.armstrong@kirkland.com

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       33.    Execution in Counterparts. This Settlement Agreement may be executed in

counterparts. A facsimile or .pdf signature shall be deemed an original signature for purposes of

executing this Settlement Agreement.

       34.    Confidentiality. The terms of this Settlement Agreement shall remain confidential

until Plaintiffs move for preliminary approval of the Settlement, unless Rice University and

Settlement Class Counsel agree otherwise, provided that Rice University may disclose the terms

of this Settlement Agreement to accountants, lenders, auditors, legal counsel, insurers, tax

advisors, or in response to a request by any governmental, judicial, or regulatory authority or

otherwise required by applicable law or court order, and Plaintiffs may disclose the terms of the

Settlement Agreement to any entity that has applied to serve as Notice and Claims Administrator

or Escrow Agent, who shall abide by the terms of this Paragraph.




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       IN WITNESS WHEREOF, the parties hereto through their fully authorized representatives

have agreed to this Settlement Agreement as of the date first herein above written.


                 21 2024.
Dated: February _____,


       WILLIAM MARSH RICE UNIVERSITY

       By:     ___________________________
               Omar A. Syed
       Its:    Vice President, General Counsel & Secretary




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                                                          By:
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                         EXHIBIT 3
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                                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION


                    SIA HENRY, et al., individually and on behalf of all others
                    similarly situated,

                                                   Plaintiffs,

                             v.

                    BROWN UNIVERSITY, et al.,
                                                                                  Case No. 1:22-cv-125
                                                     Defendants.
                                                                                  Hon. Matthew F. Kennelly


                                                                                  SETTLEMENT AGREEMENT
                                                                                  BETWEEN NORTHWESTERN
                                                                                  UNIVERSITY AND THE
                                                                                  PROPOSED CLASS OF
                                                                                  PLAINTIFFS


                          THIS SETTLEMENT AGREEMENT (“Settlement Agreement” or the “Settlement”) is

                made and entered into as of February 22, 2024, by and between (a) defendant Northwestern

                University (“Northwestern”); and (b) Plaintiffs,1 individually and on behalf of the settlement

                class (the “Class” as defined in Paragraph 1 below, and together with Northwestern, the “Settling

                Parties”), in this Action (Henry, et al. v. Brown University, et al., Case No. 1:22-cv-125 (N.D.

                Ill.)).

                          WHEREAS, Plaintiffs filed a lawsuit alleging that Defendants Brown University,

                California Institute of Technology, the University of Chicago, the Trustees of Columbia University

                in the City of New York, Cornell University, the Trustees of Dartmouth College, Duke University,

                Emory University, Georgetown University, Johns Hopkins University, Massachusetts Institute of

                Technology, Northwestern University, the University of Notre Dame Du Lac, the Trustees of the


                1
                 Plaintiffs are Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon
                Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams.


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                         Counsel for Plaintiffs and the Proposed Settlement Class




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                         EXHIBIT 4
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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


     SIA HENRY, et al., individually and on behalf of all others
     similarly situated,

                                     Plaintiffs,

              V.

     BROWN UNIVERSITY, et al.,
                                                                     Case No. 1 :22-cv-125
                                        Defendants.
                                                                     Hon. Matthew F. Kennelly



                                                                     SETTLEMENT AGREEMENT
                                                                     BETWEEN DEFENDANT
                                                                     VANDERBILT UNIVERSITY
                                                                     AND THE PROPOSED CLASS
                                                                     OF PLAINTIFFS


           THIS SETTLEMENT AGREEMENT ("Settlement Agreement" or the "Settlement") is

    made and entered into as of February       2€ 2024, by and between (a) defendant Vanderbilt
    University ("Vanderbilt"); and (b) Plaintiffs, 1 individually and on behalf of the settlement class

    (the "Class" as defined in Paragraph I below, and together with Vanderbilt, the "Settling Parties"),

    in this Action (Henry, et al. v. Brown University, et al., Case No. l:22-cv-125 (N.D. Ill.)).

           WHEREAS, Plaintiffs filed a lawsuit alleging that Defendants Brown University,

    California Institute of Technology, the University of Chicago, the Trustees of Columbia University

    in the City of New York, Cornell University, the Trustees of Dartmouth College, Duke University,

    Emory University, Georgetown University, Johns Hopkins University, Massachusetts Institute of

    Technology, Northwestern University, the University of Notre Dame Du Lac, the Trustees of the

    University of Pennsylvania, William Marsh Rice University, Vanderbilt University, and Yale


    'Plaintiffs are Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender, Brandon
    Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams.
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      University (collectively, "Defendants") have engaged in various conduct that restrained

      competition for undergraduate financial and other aid in violation of federal antitrust laws, and

      that Plaintiffs and· Class Members incurred damages in the fonn of higher net costs of attendance

      as a result, as detailed in Plaintiffs' Complaint, filed in this Action on January 9, 2022 (ECF No.

      1) and as subsequently amended ("Complaint);

              WHEREAS, Vanderbilt has asserted defenses to Plaintiffs' Claims, denies each and every

     one of Plaintiffs' allegations of unlawful or wrongful conduct by Vanderbilt, denies that any

     conduct of Vanderbilt challenged by Plaintiffs caused any damage whatsoever, and denies all

     liability of any kind;

              WHEREAS, Vanderbilt has consented to the appointment of the law firms of Freedman

     Normand Friedland LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC as

     Settlement Class Counsel ("Settlement Class Counsel");

              WHEREAS, Settlement Class Counsel and counsel for Vanderbilt have engaged in arm's-

     length settlement negotiations, and have reached this Settlement Agreement, subject to Court

     approval, which embodies all of the terms and conditions of the Settlement between Plaintiffs,

     both individually and on behalf of the Class, and Vanderbilt;

              WHEREAS, Settlement Class Counsel have concluded, after extensive fact discovery and

     consultation with their consultants and experts, and after carefully considering the circumstances

     of this Action, including the claims asserted in the Complaint and Vanderbilt's defenses thereto,

     that it would be in the best interests of the Class to enter into this Settlement Agreement and assure

     a benefit to the Class, and further, that Settlement Class Counsel consider the Settlement to be fair,

     reasonable, and adequate within the meaning of Fed. R. Civ. P. 23, and in the best interests of the

     Class;

              WHEREAS, despite its belief that it is not liable for the claims asserted and that it has good

     and valid defenses thereto, Vanderbilt has concluded that it would be in its best interests to enter

     into this Settlement Agreement to avoid the risks, uncertainties, burdens, and expense inherent in

     complex, protracted, and intrusive litigation, to obtain complete peace from the Released Claims,

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     and to protect the confidential information of current and former Vanderbilt students, applicants,

     and their families;

              WHEREAS, Plaintiffs and Vanderbilt agree that this Settlement Agreement shall not be

     deemed or construed to be an admission or evidence of any violation of any statute or law or of

     any liability or wrongdoing by Vanderbilt, or of the validity or truth of any of the claims or

     allegations alleged in the Complaint;

              WHEREAS, Plaintiffs and Vanderbilt agree that this Settlement Agreement shall not be

     deemed or construed to be an admission or evidence by Plaintiffs of the absence of any violation

     of any statute or law or of any absence of liability or wrongdoing by Vanderbilt, or of the validity

     of any of Vanderbilt's defenses, or of the lack of truth of any of the claims or allegations alleged

     in the Complaint; and

              WHEREAS, Plaintiffs and Vanderbilt agree that Vanderbilt's consent to the certification

     of the Settlement Class shall not be deemed or construed as consent to, or otherwise supportive of,

     the certification of this or any other class for litigation purposes, and that, in the event the

     Settlement Agreement is terminated for any reason, Vanderbilt may oppose the certification of any

     class on any and all grounds.

              NOW THEREFORE, it is agreed by the undersigned Settlement Class Counsel, on behalf

     of Plaintiffs and the Class, on the one hand, and Vanderbilt on the other, that all claims brought by

     Plaintiffs and the Class against Vanderbilt, for any and all injuries sustained, be fully, finally, and

     forever settled, compromised, discharged, and dismissed with prejudice as to Vanderbilt, without

     costs as to Plaintiffs, the Class, or Vanderbilt, subject to Court approval, on the following terms

     and conditions:

                   1. Definitions

              a)      ''Action'' means Henry et al. v. Brown University et al., No. l:22-cv-00125 (N.D.

     Ill.).




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             b)      "Claims Administrator" means the entity appointed by the Court, on motion of

     Settlement Class Counsel, to provide notice to the Class, process the claims submitted by Class

     Members, and cany out any other duties or obligations provided for by the Settlement.

             c)      The "Class means the settlement-only class, which permits potential class

     members to opt out, including the following persons:

                                         a. all U.S. citizens or pennanent residents who have during the

                                             Class Period (a) enrolled in one or more of Defendants' full-

                                             time undergraduate programs, (b) received at least some

                                             need-based financial aid from one or more Defendants, and

                                             (c) whose tuition, fees, room, or board to attend one or more

                                             of Defendants' full-time undergraduate programs was not

                                             fully covered by the combination of any types of financial

                                             aid or merit aid (not including loans) in any undergraduate

                                             year.2 The Class Period is defined as follows:

                                                 1.   For Chicago, Columbia, Cornell, Duke, Georgetown,

                                                      MIT, Northwestern, Notre Dame, Penn, Rice,

                                                      Vanderbilt, Yale-from Fall Term 2003 through the

                                                      date the Court enters an order preliminarily

                                                      approving the Settlement.

                                                 ii. For Brown, Dartmouth, Emoryfrom Fall Term

                                                      2004 through the date the Court enters an order

                                                      preliminarily approving the Settlement.




     ? For avoidance of doubt, the   Class does not include those for whom the total cost of attendance,
     including tuition, fees, room, and board for each undergraduate academic year, was covered by any fonn
     of financial aid or merit aid (not including loans) from one or more Defendants.

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                                              111.   For CalTechfrom Fall Term 2019 through the date

                                                     the Court enters an order preliminarily approving the

                                                     Settlement.

                                              iv. For Johns Hopkinsfrom Fall Term 2021 through

                                                     the date the Court enters an order preliminarily

                                                     approving the Settlement.

                                       b. Excluded from the Class are:

                                                1.   Any Officers3 and/or Trustees of Defendants, or any

                                                     current or former employees holding any of the

                                                     following positions: Assistant or Associate Vice

                                                     Presidents or Vice Provosts, Executive Directors, or

                                                     Directors     of Defendants'   Financial    Aid   and

                                                     Admissions offices, or any Deans or Vice Deans, or

                                                     any employees in Defendants' in-house legal offices;

                                                     and

                                               ii. the Judge presiding over this Action, his or her law

                                                     clerks, spouse, and any person within the third degree

                                                     of relationship living in the Judge's household and

                                                     the spouse of such a person.

            d)      "Class Members" means the members of the Class who do not timely and validly

    exclude themselves from the Settlement.

            e)      "Effective Date" means the date on which all of the following have occurred: (i) the

     Settlement is not terminated pursuant to Paragraphs 15 or 16 below; (ii) the Settlement is approved

    by the Court as required by Fed. R. Civ. P. 23(e); (iii) the Court enters a final approval order; and


    ° For the avoidance of doubt, the Columbia University "Officers" excluded from the Class are members
    of the Senior Administration of Columbia University, and do not include exempt employees of Columbia
    University who are referred to as officers.

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     (iv) the period to appeal the final approval order has expired and/or all appeals have been finally

     resolved.

             f)     "Escrow Account" means the qualified settlement escrow account which holds the

     Vanderbilt Settlement Fund.

             g)     "Escrow Agreement" means an agreement in the form annexed hereto as Exhibit

     B.

             h)     "Fee and Expense Award" means award(s) by the Court to Settlement Class

     Counsel for reasonable attorneys' fees and reimbursement of reasonable costs and expenses

     incurred in the prosecution of the Action, including any interest accrued thereon.

             i)     "Notice Expenses" means expenses relating to providing notice, including, inter

     alia, the cost of (a) publications, (b) printing and mailing the long-form notice, (c) the Claims

     Administrator's costs of maintaining and administering the notice website and toll-free phone

     number, and (d) the Claims Administrator's costs associated with designing and administering the

     notice plan.

            )       "Plaintiffs' Claims" means Plaintiffs' claims against Vanderbilt and other

     Defendants as stated in the Complaint.

            k)      "Plan of Allocation" means the plan proposed by Settlement Class Counsel for the

     allocation of the Vanderbilt Settlement Funds, and any other funds received via settlement or

     judgment from other Defendants, to Class Members.

            1)      "Releasees" means Vanderbilt and the Board of Trust of Vanderbilt, individually

     and collectively, and all of their present, future and former parent, subsidiary and affiliated

     corporations and entities, the predecessors and successors in interest of any of them, and each of

     the foregoing's respective present, former and future officers, directors, trustees, affiliates,

     employees, administrators,    faculty members, students, agents, advisors, representatives,

     volunteers, attorneys, outside counsel, predecessors, successors, heirs, devisees, executors,

     conservators, and assigns.



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            m)        "Releasors" means all Plaintiffs and Class Members, and those Plaintiffs' and Class

     Members' agents, attorneys, representatives (and, as applicable, each of their past, present, and

     future agents, attorneys, representatives, and all persons or entities that made payments, to

     Vanderbilt or other Defendants on behalf of Plaintiffs and Class Members), the predecessors,

     successors, heirs, devisees, executors, conservators, administrators, and representatives of each of

     the foregoing.

            n)        "Released Claims" means any and all claims, demands, actions, suits, causes of

     action, damages, and liabilities, of any nature whatsoever, including costs, expenses, penalties and

     attorneys' fees, known or unknown, accrued or unaccrued, contingent or absolute, suspected or

     unsuspected, in law, equity, or otherwise, that Plaintiffs ever had, now have, or hereafter can, shall

     or may have, directly, representatively, derivatively, as assignees or in any other capacity, to the

     extent alleged in the Complaint or to the extent arising out of, relating to, or sharing a common

     nucleus of operative facts with those alleged in the Complaint that Plaintiffs have asserted or could

     have asserted in the Action. For avoidance of doubt, claims between Class Members and

     Vanderbilt arising in the ordinary course and not arising out of, relating to, or sharing a common

     nucleus of operative facts with the facts alleged in the Complaint will not be released.

            0)        "Settlement Class Counsel" means the law firms Freedman Normand Friedland

     LLP, Gilbert Litigators & Counselors, PC, and Berger Montague PC.

            p)        "Settling Parties" means Vanderbilt, Plaintiffs, and the Class.

            q)        "Vanderbilt Payment" means fifty-five million U.S. dollars ($55 million).

            r)        "Vanderbilt Settlement Fund" means the Vanderbilt Payment, plus interest accrued

     on the Settlement Fund.

            2.        Reasonable Steps Necessary to Help Effectuate this Settlement. The Settling

     Parties agree to undertake in good faith all reasonable steps necessary to help effectuate the

     Settlement, including undertaking all actions contemplated by and steps necessary to carry out the

     terms of this Settlement and to secure the prompt, complete, and final dismissal with prejudice of

     all claims in this Action against Vanderbilt. The Settling Parties also agree to the following:

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             a)     Vanderbilt agrees not to oppose a grant of the relief requested in the Plaintiffs'

     motions for preliminary or final approval of the Settlement, and agrees not to appeal any Court

     ruling granting in full either of these motions.

             b)     Settlement Class Counsel represent that Plaintiffs will support the Settlement and

     will not object to the Settlement or opt out of the Settlement Class.

             c)     Vanderbilt will serve notice of this Settlement on the appropriate federal and state

     officials under the Class Action Fairness Act, 28 U.S.C.$ 1715.

            d)      This Settlement is reached with Settlement Class Counsel who will seek Court

     approval to represent all of the Class, and is intended to be binding on all persons who are within

     the definition of the Class, except any persons who timely and validly opt out.

            3.      Motion for Preliminary Approval of the Settlement. Plaintiffs shall draft a

     motion for preliminary approval of the Settlement and all necessary supporting documents, which

     shall be consistent with this Settlement Agreement and which Vanderbilt shall have a right to

     review and approve (which approval shall not be unreasonably withheld). Vanderbilt may suggest

     revisions, which Plaintiffs agree to consider in good faith, as long as Vanderbilt provides its

     suggested revisions or comments within seven (7) business days of having received any such

     document or documents from Plaintiffs, or such other time as the Settling Parties may agree.

     Unless the Settling Parties agree otherwise, Plaintiffs will file the motion for preliminary approval

     with the Court no later than 45 days after the execution of this Settlement Agreement. Vanderbilt

     understands and accepts that Plaintiffs may file for preliminary approval of this Settlement jointly

     with other settlements in this Action. Nothing in this Settlement Agreement shall prevent Plaintiffs

     from consummating settlements with other Defendants in this Action or from including such

     settlements as part of a joint preliminary approval motion. The motion for preliminary approval

     shall include a proposed form of order substantially similar to Exhibit A, including:

            a)      requesting preliminary approval of the Settlement as fair, reasonable, and adequate

     within the meaning of Fed. R. Civ. P. 23, and finding that dissemination of notice to the Class is

     warranted;

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            b)      finding that the proposed plan of notice complies with Rule 23 and due process,

     and seeking approval of short- and long-fonn notices;

            c)      preliminarily approving the Plan of Allocation;

            d)      providing that if final approval of the Settlement is not obtained, the Settlement

     shall be null and void, and the Settling Parties will revert to their positions ex ante without

     prejudice to their claims or defenses; and

            e)      setting a date for a motion for final approval, a deadline for objections and

     exclusions, and a date for a fairness hearing.

                 4. Stay of Proceedings; Subsequent Litigation Class. The motion for preliminary

     approval shall also provide for a stay of Plaintiffs' proceedings against Vanderbilt pending final

     approval or termination of the Settlement. Vanderbilt agrees not to oppose preliminary approval

     of the Settlement. Plaintiffs represent that the class definition in Paragraph 1 of this Settlement

     Agreement is at least as broad as that for which the Plaintiffs will seek certification in their Motion

     for Class Certification or any later motion(s) for certification of a settlement class (collectively,

     "Certification Motions") against one or more of the remaining Defendants in the Action, except

     that as to any subsequent motion for a settlement class in the Action, Plaintiffs may extend the end

     date of the Class Period to the date of preliminary approval of any subsequent settlement without

     viclating the provisions of this Paragraph. In the event that Settlement Class Counsel seek to certify

     a class or classes in any Certification Motion against one or more of the remaining Defendants that

    include(s) any class members not included in the class definition in Paragraph 1 herein (except as

     to :he end date of the Class Period in the context of a motion seeking certification of a settlement

     class), and if the Court certifies such a broader class at the request of Settlement Class Counsel,

     Settlement Class Counsel agree that this Settlement Agreement shall be amended to include such

     additional class members and that in the event an Amended Motion for Preliminary Approval of

     this Settlement Agreement, any amended notices to the class(es), or an Amended Motion for Final

    Approval of this Settlement Class are necessary, Settlement Class Counsel will file such

     amendments and provide such notice(s) at no expense to Vanderbilt.

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              5.      Motion for Final Approval and Entry of Final Judgment. In the event the Court

     enters an order preliminarily approving the Settlement, the Plaintiffs shall draft a motion for final

     approval of the Settlement and all necessary supporting documents, which Vanderbilt shall have a

     light to review and approve (which approval shall not be unreasonably withheld). Vanderbilt may

     suggest revisions, which Plaintiffs agree to consider in good faith, as long as Vanderbilt provides

     its suggested revisions or comments within seven (7) business days of having received any such

     document or documents from Plaintiffs, or other such time as the Settling Parties may agree.

     Plaintiffs will file the motion for final approval pursuant to the schedule ordered by the Court. The

     final approval motion shall seek entry of a final approval order, including:

              a)      finding that notice given constitutes due, adequate, and sufficient notice and meets

     the requirements of due process and the Federal Rules of Civil Procedure;

              b)      finding the Settlement to be fair, reasonable, and adequate within the meaning of

     Fed. R. Civ. P. 23 and directing consummation of the Settlement pursuant to its terms;

              c)      finding that all Class Members shall be bound by the Settlement Agreement and all

     of its terms;

              d)      finding that the Releasors shall be bound by the respective releases set forth in

     Paragraphs 13 and 14 of this Settlement Agreement, and shall be forever barred from asserting any

     claims or liabilities against Vanderbilt covered by the respective Released Claims against any of

     the Releasees;

              e)      approving expressly the provisions in Paragraph 7(e) of the Settlement Agreement

     allowing payment of Settlement Class Counsel fees and expenses before the Effective Date

     pursuant to the terms of that Paragraph;

              f)      directing that the Action be dismissed with prejudice as to Vanderbilt and without

     costs;

              g)      determining under Fed. R. Civ. P. 54(b) that there is no just reason for delay and

     directing that the judgment of dismissal with prejudice as to Vanderbilt be final;



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            h)         retaining exclusive jurisdiction over the Settlement, including the administration

     and consummation of the Settlement; and

            i)         directing that, for a period of five years, the Clerk of the Court shall maintain the

     record of the entities that have excluded themselves from the Class and that a certified copy of

     such records shall be provided to Vanderbilt.

            6.         Finality of Settlement. This Settlement Agreement shall become final upon the

     Effective Date.

            7.         Monetary Relief; Notice Fees and Costs

            a)         Vanderbilt shall transfer or cause to be transferred 50 percent of the Vanderbilt

     Payment ($27,500,000) to the Escrow Account within the later of: (i) 30 calendar days after entry

     by the Court of the preliminary approval order on the docket of the Action, or (ii) 14 calendar days

     after Settlement Class Counsel provide Vanderbilt counsel in writing with wiring instructions for

     the Escrow Account. Vanderbilt shall transfer or cause to be transferred the remaining balance of

     the Vanderbilt Payment to the Escrow Account within 30 calendar days after entry by the Court

     of the final approval order on the docket of the Action. Settlement Class Counsel are obligated to:

     (1) provide accurate written wiring instructions, or reasonable alternative means for Vanderbilt to

     effectuate the transfer of the Vanderbilt Payments (e.g., physical check or other similar payment

    method), and (2) make the Escrow Agent (as defined in the Escrow Agreement) available to

     Vanderbilt in order to facilitate the transfer of the Vanderbilt Payments. If Settlement Class

     counsel choose payment by wire transfer, Vanderbilt's obligation to transfer each portion of the

    Vanderbilt Payment shall terminate when Vanderbilt follows written wiring instructions provided

    by Settlement Class Counsel.

            b)         The payments provided for in subparagraph 7(a) above shall be held in the Escrow

    Account subject to the tenns and conditions of the Escrow Agreement, and in accordance with the

    provisions of Paragraphs 8-11, 16 and 17 below.

            c)         Before the granting of final approval, and upon the direction of Settlement Class

     Counsel, all reasonable costs of providing notice to the Class and any costs of settlement fund

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     administration, including taxes, will be paid out of the Escrow Account on a non-recoupable basis

     other than as set forth below. Settlement Class Counsel shall attempt to defray the costs of notice

     by combining the administration of multiple settlements, if such settlements occur and if permitted

     by the Court to do so. If multiple settlements are noticed together, the notice costs shall be divided

     by the number of settlements and charged to the escrow account of each settlement pari passu.

     Settlement Class Counsel shall provide copies to Vanderbilt's counsel of any invoices paid by

     Settlement Class Counsel for which money is withdrawn from the Escrow Account. In the event

     that no noticed settlements become effective, then any withdrawals for reasonable costs from the

     Escrow Account pursuant to this provision shall be non-refundable. If at least one noticed

     settlement becomes effective, then all withdrawals for reasonable costs from the Escrow Account

     pursuant to this provision shall be withdrawn only from/charged only to the settlement fund(s) of

     the effective settlement(s). Settlement Class Counsel agree to arrange for provision of notice to the

     Class in accordance with Fed. R. Civ. P. 23 and any orders of the Court. Settlement Class Counsel

     agree to provide Vanderbilt reasonable advance notice of the notice plan and costs.

            d)      Following the Effective Date, any attorneys' fees, costs and expenses and Class

     representative service awards awarded to Settlement Class Counsel and Plaintiffs by the Court will

     be paid from the Escrow Account. Vanderbilt will take no position on Settlement Class Counsel's

     application for attorneys' fees, costs, and expenses or for Class representative service awards to

     the Plaintiffs unless requested to do so by the Court.

            e)      Notwithstanding the above, subject to and following both the Court's approval in

     the final approval order and the posting of a non-revocable letter of credit issued by Northern Trust,

     Bank of America, Citibank, or Chase Bank agreed to in writing in advance by the Settling Parties

     in an amount equal to or greater than the amount of any funds paid under this Paragraph,

     Settlement Class Counsel's attorneys' fees and/or reimbursement of out-of-pocket expenses of

     Settlement Class Counsel awarded by the Court, up to a maximum of90% of the combined amount

     of the Fee and Expense Award(s) associated with any and all settlements in this Action with other

     Defendants approved contemporaneously with this Settlement, shall be payable from the combined

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     Settlement Fund upon being awarded by the Court, notwithstanding the existence of any timely-

     filed objections thereto, or potential appeal therefrom, or collateral attack on the Settlement or any

     part thereof, including on the award of attorneys' fees and costs. Any payment pursuant to this

     Paragraph 7(e) shall be subject to Settlement Class Counsel's obligation to make appropriate

     refunds or repayments to the Vanderbilt Settlement Fund with interest that would have accrued to

     the Vanderbilt Settlement Fund if the early payment(s) had not been made, within five business

     days, if and when, as a result of any appeal or further proceedings on remand, action by or ruling

     of the Court, or successful collateral attack, the fee or award of costs and expenses is reduced or

     reversed, or in the event the Settlement does not become final or is rescinded or otherwise fails to

     become effective. If Settlement Class Counsel fail to make the required repayments in accordance

     with the time period in this Paragraph, Vanderbilt may call the letter of credit. If the provisions of

     this Paragraph are followed, Vanderbilt shall not object to such disbursements. If the Court does

     not approve this provision, that disapproval will have no effect otherwise on the Settling Parties'

     Settlement Agreement. Nothing in this Paragraph is intended to serve as a cap on, or limit to, the

     attJmeys' fees or expenses that Settlement Class Counsel or Plaintiffs may be awarded by the

     Ccurt and receive following the Effective Date.

            f)      Aside from the payments specified in subparagraph 7(a), above, Vanderbilt shall

     no-: pay any additional amount at any time, whether for attorneys' fees or expenses, incentive

     awards, settlement administration costs, escrow costs, taxes due from the Escrow Account, or any

     other cost. Vanderbilt shall not be liable for any monetary payments under the Settlement

     Agreement other than the Vanderbilt Payment.

            8.      The Vanderbilt Settlement Fund. At all times prior to the Effective Date, the

     Vanderbilt Settlement Fund shall be invested at the direction of Settlement Class Counsel as set

     forth in Paragraph 3 of the Escrow Agreement, in instruments backed by the full faith and credit

     of the U.S. Government or fully insured by the U.S. Government or an agency thereof, including

     a U.S. Treasury Money Market Fund or a bank account insured by the FDIC up to the guaranteed

     FDIC limit. Vanderbilt shall have no responsibility for, or obligation with respect to, the

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     investment or management of the Vanderbilt Settlement Fund. The Vanderbilt Settlement Fund

     may be combined in the same Escrow Account as the settlement funds from other settlements in

     this Action. After the Effective Date, the Vanderbilt Settlement Fund shall be invested pursuant to

     Paragraph 7 of the Escrow Agreement as directed in writing by Settlement Class Counsel. All

     interest earned on the Vanderbilt Settlement Fund shall become part of the Vanderbilt Settlement

     Fund.

             9.     Disbursements: After the Effective Date, the Vanderbilt Settlement Fund shall be

     distributed in accordance with the Plan of Allocation and the Court's approval of subsequent

     request(s) for distribution. If any portion of the Settlement Fund remains following disbursement

     of Court-approved Notice Expenses, the Fee and Expense Award, and the service awards to the

     Class representatives, and after distribution (or redistribution) to authorized claimants pursuant to

     the Court-approved Plan of Allocation, and is of such an amount that it is not cost effective or

     administratively efficient to redistribute the amount to the authorized claimants, then the Settling

     Parties agree to seek leave of Court to disburse such remaining funds, after payment of any further

     notice and administration costs and taxes and tax expenses, to one or more appropriate charitable

     non-profit organizations that promote access to higher education for disadvantaged students and

     families as agreed to by the Settling Parties and approved by the Court. No funds shall be

     distributed to any cy pres recipient absent express prior Court approval.

             10.    Taxes

             a)     Settlement Class Counsel shall be solely responsible for directing the Escrow Agent

     to file all informational and other tax returns necessary to report any taxable and/or net taxable

     income earned by the Escrow Account. Further, Settlement Class Counsel shall be solely

     responsible for directing the Escrow Agent to make any tax payments, including interest and

     penalties due, on income earned by the Escrow Account. Subject to Paragraph 7 above, Settlement

     Class Counsel shall be entitled to direct the Escrow Agent to pay customary and reasonable tax

     expenses, including professional fees and expenses incurred in connection with carrying out the

     Escrow Agent's or tax preparer's responsibilities as set forth in this Paragraph, from the Escrow

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     Account. Settlement Class Counsel shall notify Vanderbilt through its counsel regarding any

     payments or expenses paid from the Escrow Account. Vanderbilt shall have no responsibility to

     make any tax filings relating to this Settlement Agreement, the Escrow Account, or the Settlement

     Payments, and shall have no responsibility to pay taxes on any income earned by the Escrow

     Account.

            b)      For the purpose of§ 468B of the Internal Revenue Code of 1986, as amended, and

     the regulations promulgated thereunder, the "Administrator" of the Escrow Account shall be

     Se.tlement Class Counsel, who shall timely and properly file or cause to be filed on a timely basis

     all tax returns necessary or advisable with respect to the Escrow Account (including without

     limitation all income tax returns, all informational returns, and all returns described in Treas. Reg.

     § l.468B-2(1 )).

            c)      The Settling Parties and their counsel shall treat, and shall cause the Escrow Agent

     to treat, the Escrow Account as being at all times a "qualified settlement fund" within the meaning

     of Treas. Reg. § 1.468B-l. The Settling Parties, their counsel, and the Escrow Agent agree that

     they will not ask the Court to take any action inconsistent with the treatment of the Escrow Account

     in this manner. In addition, the Escrow Agent and, as required, the Settling Parties, shall timely

    make such elections under§ 468B of the Internal Revenue Code of 1986, as amended, and the

     regulations promulgated thereunder as necessary or advisable to carry out the provisions of this

     Paragraph, including the "relation-back election" (as defined in Treas. Reg. $ 1 .468B-l(j)) back to

     the earliest permitted date. Such elections shall be made in compliance with the procedures and

    requirements contained in such regulations. It shall be the responsibility of the Escrow Agent to

     tin.ely and properly prepare and deliver the necessary documentation for signature by all necessary

    parties and thereafter to cause the appropriate filing to occur. All provisions of this Settlement

     Agreement shall be interpreted in a manner that is consistent with the Escrow Account being a

     "qualified settlement fund" within the meaning of Treas. Reg. § 1.468B- l.

            11.     Full Satisfaction; Limitation of Interest and Liability. Plaintiffs and Class

    Members shall look solely to the Vanderbilt Settlement Fund for satisfaction of any and all

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      Released Claims. If the Settlement becomes final pursuant to Paragraph 6 above, Vanderbilt's

     payment of the Vanderbilt Payment will fully satisfy any and all Released Claims, as

     compromised. Except as provided by order of the Court, no Class Member shall have any interest

     in the Vanderbilt Payment, Escrow Account, or any portion thereof. Recognizing that Vanderbilt

     cannot defend itself in this Action in absentia after settling, the Settling Parties agree that any

      finding of liability against any other party would not establish that Vanderbilt would have been

     liable, or the amount of any such liability, if Plaintiffs had proceeded to trial against Vanderbilt on

     Plaintiffs' Claims. It is not a violation of this Settlement Agreement for Plaintiffs to use any

     evidence, including evidence that Plaintiffs believe shows Vanderbilt's involvement in the

     challenged conduct, to prove Plaintiffs' Claims for liability and damages against any non-settling

     Defendant in this Action. Notwithstanding anything set forth above, nothing in this Paragraph is

     intended to, or shall be used to (i) exonerate any party other than Vanderbilt, and/or (ii) reduce the

     exposure of any non-settling-defendant to liability, including to liability for the alleged actions of

     Vanderbilt.

             12.    Attorneys' Fees, Expenses, and Costs.

             a)      Settlement Class Counsel shall file any motion for a Fee and Expense Award in

     accordance with the Court's preliminary approval or final approval order. Settlement Class

     Counsel shall receive any Fee and Expense Award relating to this Settlement solely from the

     Vanderbilt Settlement Fund. Other than as provided in Paragraph 7(e) and approved by the Court,

     no portion of any Fee and Expense Award shall be released from the Vanderbilt Settlement Fund

     prior to the Effective Date. Vanderbilt is not obligated to take, does not take, and, unless requested

     to do so by the Court, will not take any position with respect to the application by Settlement Class

     Counsel for reimbursement of attorneys' fees, expenses, and costs.

            b)      The procedures for and the allowance or disallowance by the Court of Settlement

     Class Counsel's application for a Fee and Expense Award to be paid from the Vanderbilt

     Settlement Fund are not part of this Agreement, and are to be considered by the Court separately

     from consideration of the fairness, reasonableness, and adequacy of the Settlement. Any order or

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    proceeding relating to the Fee and Expense Award, or any appeal from any such order, shall not

     operate to modify or cancel this Settlement Agreement, or affect or delay the finality of the

    judgment approving the Settlement. A modification or reversal on appeal of any amount of the Fee

     and Expense Award shall not be deemed a modification of the terms of this Settlement Agreement

     or final approval order, and shall not give rise to any right of termination.

            13.     Release. Upon the occurrence of the Effective Date, the Releasors hereby release

     and forever discharge, and covenant not to sue the Releasees only, with respect to, in connection

    with, or relating to any and all of the Released Claims.

            14.     Additional Release. In addition, each Releasor hereby expressly waives and

    releases, upon the Effective Date, any and all provisions, tights, and/or benefits conferred by

     Section 1542 of the California Civil Code, which reads:

            Section 1542. Release. A general release does not extend to claims that the creditor
            or releasing party does not know or suspect to exist in his or her favor at the time
            of executing the release and that, if known by him or her, would have materially
            affected his or her settlement with the debtor or released party;
    or by any law of any state or territory of the United States, or principle of common law, which is

    similar, comparable, or equivalent to Section 1542 of the California Civil Code, notwithstanding

    that the release in Paragraph 13 is not a general release and is of claims against Releasees only.

    Each Releasor may hereafter discover facts other than or different from those which he, she, or it

    knows or believes to be true with respect to the claims that are the subject matter of Paragraph 13.

    Nonetheless, upon the Effective Date, each Releasor hereby expressly waives and fully, finally,

    and forever settles and releases any known or unknown, foreseen, or unforeseen, suspected or

    unsuspected, contingent or non-contingent claim that is the subject matter of Paragraph 13,

    whether or not concealed or hidden, without regard to the subsequent discovery or existence of

    such different or additional facts. Each Releasor also hereby expressly waives and fully, finally,

    and forever settles, releases, and discharges any and all claims it may have against the Releasees

    under $ 17200, et seq., of the California Business and Professions Code or any similar comparable



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     or equivalent provision of the law of any other state or territory of the United States or other

     jurisdiction, which claims are expressly incorporated into the definition of the Released Claims.

             15.    Effect of Disapproval. If the Court (i) declines to approve this Settlement

     Agreement; (ii) does not enter the _preliminary approval order containing the elements set forth in

     Paragraph 3 above; (iii) does not enter the final approval order containing the elements set forth in

     Paragraph 5 above; or (iv) enters the final approval order and appellate review is sought, and on

     such review, such final approval order is not affirmed, then Settlement Class Counsel or Vanderbilt

     may elect to terminate this Settlement Agreement by sending written notice to the other party

     within 10 business days of the event allowing for termination. For the avoidance of doubt and

     without limiting the foregoing, any order of the Court, the Seventh Circuit Court of Appeals, or

     the United States Supreme Court that is based on a determination that the Settlement is not fair,

     reasonable, or adequate or that: (a) materially changes or does not approve the scope of the releases

     and covenant not to sue contemplated by this Settlement; (b) purports to impose additional material

     obligations on Vanderbilt; or (c) declines to enter a final judgment that meets the requirements set

     forth in Paragraph 5 above, except as otherwise agreed in writing by Settlement Class Counsel and

     Vanderbilt, constitutes a failure to grant final approval of this Agreement and confers on

     Settlement Class Counsel and/or Vanderbilt the right to terminate the Agreement. A modification

     or reversal on appeal of the Plan of Allocation, Fee and Expense Award, or Plaintiffs' service

     awards shall not be deemed a modification of the terms of this Agreement or final approval order

     and shall not give rise to any right of termination, so long as such modification or reversal does

     not impose additional material obligations on Vanderbilt.

            16.     Opt-Out and Termination Rights.

            a)      Should more than 650 proposed Class Members (not including employees of any

     of the law firms representing Defendants in this case) opt-out of this Settlement, Vanderbilt has

     the right to terminate this Settlement, as long as Vanderbilt notifies Settlement Class Counsel in

     writing of its decision to terminate within 12 days of having been informed that more than 650

     proposed Class Members have opted out or such other time as the Settling Parties may agree, and

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    provided that Vanderbilt has been given timely information regarding any opt-outs within a

    reasonable time after such opt-out requests come to the attention of Settlement Class Counsel. In

    such instance of termination, the Settling Parties would return to their respective positions as of

    Ncvember 3, 2023. In the event of a termination, the Settling Parties agree to work in good faith

    to propose a schedule to the Court to restart the litigation between Plaintiffs and Vanderbilt.

    Vanderbilt agrees that its President, Provost, General Counsel, or outside counsel shall take no

    actions, publicly or privately, directly or indirectly, to encourage any proposed Class Members to

    op-: out of this Settlement, or to encourage opting out from any other settlements that Plaintiffs

    may enter into with other Defendants in this Action, or from any class or classes that the Court

    may certify in this Action.

           b)      Any disputes regarding the application of this Paragraph 16 may be resolved by the

    Court, with Plaintiffs, Vanderbilt, and the opt-out(s) all having the opportunity to be heard.

           17.     Reimbursement of the Vanderbilt Settlement Fund upon Termination. If the

    Settlement Agreement is terminated pursuant to the provisions of Paragraphs 15 or 16 above, the

    Escrow Agent shall return to Vanderbilt the full amount of funds remaining in the Vanderbilt

    Settlement Fund consistent with Paragraph 7 at the time of termination. Subject to Paragraph 8 of

    the Escrow Agreement, the Escrow Agent shall disburse the funds left in the Vanderbilt Settlement

    Fund consistent with Paragraph 7 to Vanderbilt in accordance with this Paragraph within 15

    calendar days after receipt of either (i) written notice signed by Settlement Class Counsel

    Vanderbilt's counsel stating that the Settlement has been terminated (such written notice will be

    signed by the non-terminating party within three days of receiving the written notice from the

    terninating party), or (ii) any order of the Court so directing. If the Settlement Agreement is

    terninated pursuant to Paragraphs 15 or 16, ( 1) any obligations pursuant to this Settlement

    Agreement other than (i) disbursement of the Vanderbilt Settlement Fund to Vanderbilt as set forth

    above and (ii) Paragraph 23, shall cease immediately and (2) the releases set forth in Paragraphs

    13 and 14 above shall be null and void.



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             18.     Preservation of Rights. Except as expressly provided for in the Releases in

     Paragraphs 13 and 14 above, this Settlement Agreement, whether the Settlement becomes final or

     not, and any and all negotiations, documents, and discussions associated with it, shall be without

     prejudice to the rights of any of the Settling Parties, shall not be deemed or construed to be an

     admission or evidence of any violation of any statute or law or lack thereof, of any liability or

     wrongdoing by Vanderbilt or lack thereof, or of any amount of improperly acquired funds received

     by Vanderbilt or the lack thereof, or of the truth or lack thereof of any of the claims or allegations

     contained in the Complaint or any other pleading, and evidence thereof shall not be discoverable

     or used directly or indirectly, in any way other than to enforce the terms of this Settlement

     Agreement. The Settling Parties expressly reserve all of their rights if the Settlement does not

     become final in accordance with the terms of this Settlement Agreement. Upon the Settlement

     becoming final, nothing in this Settlement Agreement shall (a) prevent Vanderbilt from asserting

     any release or citing this Settlement Agreement to offset any liability to any other parties not party

     to the Action, including but not limited to, claims filed by federal and state governments or any

     governmental entity, or (b) be construed to impair, negate, diminish, or adversely affect any rights

     of Vanderbilt or its successors or assigns to seek to recover or to recover insurance proceeds or

     payments from its past or current insurance carriers with respect to amounts paid pursuant to this

     Settlement Agreement or incurred in connection with the Action, or any other loss or liability, and

     Vanderbilt expressly reserves all rights, claims, positions, arguments, contentions, and defenses

     with respect to such matters.

            19.     No Admission of Liability by Vanderbilt; No Admission of Absence of Merit

     by Plaintiffs. This Settlement Agreement shall not be deemed or construed. to be an admission of

     Vanderbilt's liability in this Action or to be admissions that Plaintiffs' Claims in this Action have

     any merit against Vanderbilt or otherwise, or to comprise any determination as to whether there

     were, or the amount of, any improperly acquired funds allegedly received by Vanderbilt.

     Vanderbilt denies any wrongdoing in relation to, or damage resulting from, the claims brought by

     Plaintiffs in this Action. Vanderbilt's consent to the Settlement Class shall not be deemed consent

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    to the certification of this or any other class for litigation purposes, and in the event of termination,

    Vrnderbilt may oppose the certification of any class. This Settlement Agreement shall not be

    deemed or construed to be an admission that Plaintiffs' Claims in this Action have or lack merit

    as to Vanderbilt or otherwise.

           20.     Discovery Disclosures to Plaintiffs. The intent of this Paragraph is to expressly

    limit and define Vanderbilt's obligations with respect to discovery that Plaintiffs may seek from

    Vanderbilt following the Settlement. Other than as set forth below, or as may subsequently be

    agreed to by the Settling Parties, Vanderbilt and its current or former employees, its current or

    former students, applicants, and their family members (other than the three Plaintiffs who attended

    Vanderbilt Michael Maerlender, Brittany Tatiana Weaver, and Cameron Williams), its current

    or former donors, and current or former members of the Vanderbilt Board of Trust shall not be

    required to respond or supplement any response to any discovery request, including deposition

    notices, deposition subpoenas, document subpoenas, or trial subpoenas. In addition, Settlement

    Class Counsel agree that they will not attempt to contact or make any effort to communicate with

    any current or former Vanderbilt employees, Vanderbilt's current or former students, applicants,

    and their family members (other than Michael Maerlender, Brittany Tatiana Weaver, and Cameron

    Williams), Vanderbilt's current or former donors, and current or former members of the Vanderbilt

    Board of Trust, other than as set forth below. For the avoidance of doubt, none of the discovery,

    interviews, questions, or cooperation with Plaintiffs will cover excluded topics, such as whether

    Vanderbilt's admissions decisions were "need blind," including whether Vanderbilt considered

    financial circumstances in admissions.

           a)      Data. Vanderbilt, through counsel, will work in good faith to answer reasonable

    questions that Settlement Class Counsel and their consultants have about the undergraduate

    financial aid structured data Vanderbilt has produced to date in the Action, including without

    limitation, the software settings and formulae Vanderbilt has used during the Class Period to

    compute awards of financial aid to students (including, without limitation, for the purpose of



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     computing student expected family contributions), to the extent such questions have not previously

     been answered. Vanderbilt's obligations under this Paragraph shall expire on March 4, 2024.

             b)      Documents. Vanderbilt will substantially complete, no later than January 31, 2024,

     all document productions from existing custodians and non-custodial sources related to

     Vanderbilt's undergraduate financial aid practices and its participation in the 568 Group in

     response to all of Plaintiffs' Requests for Production of Documents served to date as well as any

     supplemental requests for production made by the Plaintiffs during the deposition of any

     Vanderbilt witness, and subject to any existing agreements between the Settling Parties. Vanderbilt

     will also respond in good faith to any reasonable inquiries by Plaintiffs, by no later than February

     29, 2024, regarding Vanderbilt's January 5, 2024, response to the supplemental requests for

     production made by Plaintiffs during the depositions of Brent Tener, John Gaines, and Doug

     Christiansen, provided that such further inquiries are made no later than Febmary 14, 2024.

             c)      Witness Interviews. On November 30, 2023, Vanderbilt arranged for Doug

     Christiansen to meet with Plaintiffs for up to 3 hours. Vanderbilt will arrange for Brent Tener to

     meet with Plaintiffs' counsel by video-conference or in-person at a place convenient to the witness

     for up to 2.5 hours. The interview of Mr. Tener will be limited to discussing Vanderbilt's (i)

     undergraduate financial aid processes (including but not limited to the funding thereof, as well as

     the software settings and formulae Vanderbilt has used during the Class Period to compute awards

     of financial aid to students (including, without limitation, for the purpose of computing student

     expected family contributions)) and (ii) participation in or knowledge about the policies and

     practices of the 568 Group, to the extent not already covered in the deposition of Mr. Tener. For

     the avoidance of doubt, no interview or question will cover matters relating to whether

     Vanderbilt's admissions decisions were "need blind," including whether Vanderbilt considered

     financial circumstances in admissions.

            d)      Depositions.     On December I, 2023, Plaintiffs took the deposition of Doug

     Christiansen for up to 3 .5 hours. Plaintiffs will not notice, subpoena, or take the deposition of any

     current or former Vanderbilt employee, any current or former Vanderbilt student, applicant, or

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     family member of a Vanderbilt student or applicant (other than the three Plaintiffs who attended

     Vanderbilt, Michael Maerlender, Brittany Tatiana Weaver, and Cameron Williams), any current

     or former Vanderbilt donor, or any current or former member of the Vanderbilt Board of Trust,

     uness otherwise agreed by Vanderbilt. Notwithstanding the above, if any other party to the Action

     takes a deposition of a Vanderbilt-related witness, Vanderbilt agrees that it will not object to

     making that witness available for deposition questioning, during the same deposition noticed by

     another party to the Action, by Plaintiffs' counsel for an equal amount of time, subject to a

     combined time limit as set forth in Fed. R. Ci. P. 30(d)(l). Plaintiffs represent that, as of the date

     of this Agreement, they are not aware of any other party that intends to take such depositions.

            e)      Written Responses. Vanderbilt will provide written responses not exceeding ten

     (10) pages to questions from Plaintiffs that Doug Christiansen and Brent Tener were unable to

     answer concerning Vanderbilt's (i) undergraduate financial aid processes (including but not

    limited to the funding thereof) and (ii) participation in or knowledge about the policies and

    practices of the 568 Group. For the avoidance of doubt, no deposition or question will cover

    matters relating to whether Vanderbilt's admissions decisions were "need blind," including

    whether Vanderbilt considered financial circumstances in admissions. The foregoing obligations

    of -:his Paragraph shall terminate as of April 30, 2024.

            f)      Produced documents kept in the ordinary course of business and trial witness.

    Vanderbilt agrees that in the event the need arises in this Action, and there is an authenticity or

    hearsay objection made by one or more Defendants in the Action to documents or data produced

    by Vanderbilt in this litigation, Vanderbilt will provide a declaration (i) pursuant to Federal Rule

    of Evidence 902(11) concerning the authenticity or admissibility of those documents; and (ii)

    prcviding facts relevant to the application of the Business Records Exception to the Hearsay Rule

    (Fed. R. Evid. 803(6)) for documents or data that qualify as business records. In the event that a

    declaration is not sufficient to meet the requirements of Fed. R. Evid. 803(6), Vanderbilt will

    provide a records custodian witness to testify by deposition de bene esse or, if necessary, at trial,



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     for the sole purpose of providing support for the authenticity of the documents or data or the

     application of the Business Records Exception to the Hearsay Rule for those documents or data.

             g)      Confidentiality: All non-public data, documents, information, testimony, and/or

     communications provided to Plaintiffs' counsel as part of discovery in the Action or as part of

     subparts (a) to (e) above, if so designated by Vanderbilt, shall be treated as "Confidential" or

     "Attorneys' Eyes Only" under the Confidentiality Order in the Action (Dkt. No. 608)

     (''Confidentiality Order"). Plaintiffs reserve the right to challenge such designations, after the fact,

     under the terms of the Confidentiality Order; however, Plaintiffs must provide in writing their legal

     basis for such a challenge and then telephonically meet and confer in good faith with counsel for

     Vanderbilt before filing any motion to challenge such designations with the Court. Plaintiffs

     further agree that they shall not seek to challenge the confidentiality of any Vanderbilt documents

     or testimony unless Plaintiffs intend to file such documents or testimony with the Court in support

     of a motion (other than a motion to challenge confidentiality designations) or introduce such

     documents or testimony in a hearing or trial in the Action. Notwithstanding anything to the

     contrary in this Settlement Agreement or the Confidentiality Order, Plaintiffs shall not object to

     any Vanderbilt designation or redaction of Application Materials, Donation Records, Education

     Records, and Financial Aid Materials (including designations pursuant to FERPA), as defined in

     the Confidentiality Order, under any circumstances.

             h)     Admissibility and Privilege: Any statements made during any fact witness

     interviews conducted under subpart (c) above, shall be deemed to be "conduct or statements made

     during compromise negotiations about the claims" and shall be inadmissible in evidence as

     provided, without limitation, under Federal Rule of Evidence 408 and state-law equivalents, and

     otherwise shall not be used for any other purpose (including at any hearing or trial, in connection

     with any motion, opposition, or other filing in the Action, or in any other federal, state, or foreign

     action or proceeding). In the event, for whatever reason, this Settlement is rescinded, canceled, or

     terminated or the Settlement is not approved by the Court, such inadmissibility and other limits on

     use shall survive. Further, nothing herein shall require Vanderbilt to provide infonnation protected

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    by the attorney-client privilege, attorney work-product doctrine, joint-defense privilege or similar

    pr:.vileges, and Vanderbilt shall not waive any protections, immunities, or privileges. All

    provisions of the Confidentiality Order and other orders goveming discovery in the Action

     otherwise will apply, including without limitation, provisions related to inadvertent disclosure.

            21.     Temporary Stay of Litigation. The Settling Parties agree that it appears unlikely

    a temporary stay of litigation will be necessary before the Court considers the stay requested as

    pat of the motion for preliminary approval of the Settlement Agreement. In the event that either

     Settling Party to this Settlement Agreement believes in good faith that it has become necessary to

    seek a stay of the litigation in order for that party to avoid work not contemplated by this Settlement

    Agreement or some other undue burden, the Settling Parties agree that they will seek a temporary

    stay of the litigation.

            22.     Resumption of Litigation in the Event of Termination. The Settling Parties agree

    that in the event that the Settlement Agreement is not approved by the Court, or if the Settlement

    does not become final pursuant to Paragraph 6 above, or if the Settlement Agreement is terminated

    pursuant to Paragraphs 15 or 16 above, Plaintiffs may resume litigation of the Action against

    Vanderbilt in a reasonable manner to be approved by the Court upon a joint application by the

    Settling Parties, and if and only if Plaintiffs have fully reimbursed to Vanderbilt the Vanderbilt

    Settlement Fund as provided for in Paragraph 17 above. If Plaintiffs resume the litigation, the

    Settling Parties will have the same respective rights and defenses as if they had not entered in the

    Settlement Agreement.

            23.     Maintaining Confidentiality of Litigation Materials. In the event that Plaintiffs

    or Settlement Class Counsel receive a subpoena or other legal process that would require

    disclosure of material covered by any protective order entered in the Action (the "Protective

    Order") or covered by Federal Rule of Evidence 408, such Plaintiff or Settlement Class Counsel

    shall, within three (3) business days of receipt of such subpoena or legal process, notify Vanderbilt

    anc forward to Vanderbilt a copy of such subpoena or legal process so that Vanderbilt may seek a

    protective order or otherwise seek to maintain the confidentiality of material covered by the

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      Confidentiality Order or Rule 408; and such Plaintiffs) or Settlement Class Counsel shall object

      to and refrain from the production of such material unless and until any such motion filed by

      Vanderbilt is resolved or unless Plaintiffs or Settlement Class Counsel are otherwise ordered to do

      so by a court of competent jurisdiction. In addition, Plaintiffs and Settlement Class Counsel shall

      abide by the terms of the Confidentiality Order in this Action, including with respect to the

      destruction of materials and the limitations on the use of any material covered by the Protective

      Order to this Action, unless otherwise ordered by a court of competent jurisdiction.

             24.     Insurance Coverage. Notwithstanding Paragraphs 6(a) and 17() of the February

      3, 2024, Confidentiality Order entered in the Action, Vanderbilt may retain and utilize Confidential

      Information (as defined in the Confidentiality Order) produced by Plaintiffs solely to pursue

     recovery of insurance proceeds or payments from its past or current insurance carriers with respect

      to amounts paid pursuant to this Settlement Agreement or incurred in connection with the Action.

      Such Confidential Information shall remain subject to the Confidentiality Order (except

     Paragraphs 6(a) and l 7(b) thereof) and, to the extent produced by Vanderbilt to an insurance carrier

     will be produced only subject to a confidentiality agreement or order providing the same degree

     of protection as the Confidentiality Order.

             25.     Binding Effect. This Settlement Agreement shall be binding upon, and inure to the

     benefit of, the Releasors and the Releasees. Without limiting the generality of the foregoing, each

     and every covenant and agreement herein by Settlement Class Counsel shall be binding upon

     Plaintiffs and all Class Members.

             26.     Integrated Agreement. This Settlement Agreement, together with the exhibits

     hereto and the documents referenced herein, contains the complete and integrated statement of

     every term in this Settlement Agreement, and supersedes all prior agreements or understandings,

     whether written or oral, between the Settling Parties with respect to the subject matter hereof. This

     Settlement Agreement shall not be modified except by a writing executed by Plaintiffs and

     Vanderbilt.



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             27.     Independent Settlement. This Settlement Agreement is not conditioned on the

     performance or disposition of any other settlement agreement between the Class and any other

     Defendant.

             28.     Headings. The headings in this Settlement Agreement are intended only for the

     convenience of the reader and shall not affect the interpretation of this Settlement Agreement.

             29.     No Party is the Drafter. None of the Settling Parties shall be considered the drafter

     of this Settlement Agreement or any provision hereof for the purpose of any statute, case law, or

     rule of construction that might cause any provision to be construed against the drafter hereof.

             30.     Consent to Jurisdiction. Each Class Member and Vanderbilt hereby irrevocably

     submit to the exclusive jurisdiction of the United States District Court for the Northern District of

     Illinois for any suit, action, proceeding or dispute among or between them arising out of or relating

     to this Settlement Agreement or the applicability of this Settlement Agreement, including, without

     limitation, any suit, action, proceeding, or dispute relating to the release provisions herein provided

     that this consent to jurisdiction shall not affect Vanderbilt's right or ability to assert this Settlement

     Agreement or the releases contained herein as a defense in an action filed in any other jurisdiction

    asserting Released Claims or concerning this Settlement Agreement or this Action.

             31.     Choice of Law. All terms of this Settlement Agreement shall be governed by and

    interpreted according to federal common law or, where state law must apply, Illinois law without

    regard to conflicts of law principles.

             32.     Representations and Warranties. Each party represents and warrants that it has

    the requisite authority to execute, deliver, and perform this Settlement Agreement and to

    consummate the transactions contemplated herein.

             33.     Notice. Where this Settlement Agreement requires either Settling Party to provide

    notice or any other communication or document to the other Settling Party, such notice shall be in

    writing and provided by email and overnight delivery to the counsel set forth in the signature block

    below for Settlement Class Counsel, respectively, or their designees or successors. For Vanderbilt,

    notice shall be provided by email and overnight delivery to:

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             Michelle Tellock
             Deputy General Counsel
             Vanderbilt University
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             J. Mark Gidley
             White & Case LLP
             701 Thirteenth Street NW
             Washington, D.C. 20005-3807
             mgidley@whitecase.com


             34.     Execution in Counterparts. This Settlement Agreement may be executed in

      counterparts. A facsimile or .pdf signature shall be deemed an original signature for purposes of

      executing this Settlement Agreement.

             35.     Confidentiality. The tenns of this Settlement Agreement shall remain confidential

      until Plaintiffs move for preliminary approval of the Settlement, unless Vanderbilt and Settlement

     Class Counsel agree otherwise, provided that Vanderbilt may disclose the tenns of this Settlement

     Agreement to accountants, lenders, auditors, legal counsel, insurers, tax advisors, or in response

     to a request by any governmental, judicial, or regulatory authority or otherwise required by

     applicable law or court order, and Plaintiffs may disclose the terms of the Settlement Agreement

     to any entity that has applied to serve as Notice and Claims Administrator or Escrow Agent, who

     shall abide by the terms of this Paragraph.




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           IN WITNESS WHEREOF, the parties hereto through their fully authorized representatives
    have agreed to this Settlement Agreement as of the date first herein above written.


    Dated: February    2024.

           By:    a1
                              ,
           VANDERBILT UNIVERSITY


                  R
           Its:    Vie    huncellor, Gen
                                       eral Counsel, and University Secretary




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                              Counsel for Plaintiffs and the Proposed Settlement Class




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